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Deposition of Marc Fink                                               Lisa Barbounis v. Middle Eastern Forum, et. al.


                   IN THE UNITED STATES DISTRICT FOR THE EASTERN
                                  DISTRICT OF PENNSYLVANIA


                                               *     *    *
          LISA BARBOUNIS,                        : CIVIL ACTION - LAW
                 Plaintiff                       :
                                                 :
                          vs                     :
                                                 :
          MIDDLE EASTERN FORUM,                  :
          et al.,                                :
                  Defendants                     : NO. 2:19-cv-05030

                                               *     *    *


                                 Videotaped deposition of MARC FINK, via
          video conference, taken on Tuesday, November 24, 2020,
          beginning at 3:03 p.m. before Pamela Pratt, via video
          conference, Court Reporter and Notary Public in and for
          the Commonwealth of Pennsylvania.




                                               *     *    *




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                          Steven Levy
                          Gregg Roman
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                                               I N D E X
                                                 *     *    *
          WITNESS:           Marc Fink
          QUESTIONED BY:                                   PAGE
                          Mr. Carson                            5




                                          E X H I B I T S
                                                 *     *    *

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          NUMBER              DESCRIPTION                                                      FOR ID
          Fink-1              E-mail - D13                                                              40
          Fink-2              E-mail -     D2                                                           40
          Fink-3              E-mail - D1                                                               52
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          Fink-7              E-mail - D-29                                                             97


          * Exhibits were reatained by Attorney Carson
          * No Exhibit 5 was marked.




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 1                   * * *                                      1             MR. CARSON: And no problem. So noted.
 2            (It is hereby stipulated and agreed by            2 BY MR. CARSON:
 3 and among counsel for the respective parties that            3 Q.        Mr. Fink, can you please state your full name
 4 sealing, certification, and filing are waived and that       4 for the record.
 5 all objections, except as to the form of the question,       5 A.        Marc Fink.
 6 are reserved until the time of trial.)                       6 Q.        And what is your job today?
 7                   * * *                                      7 A.        At the Middle East Forum, I am counselor.
 8            THE VIDEOGRAPHER: We are now on the               8 Q.        Is that house counsel for the Middle East
 9 record. Today's date is Tuesday, November 24th, 2020         9 Forum?
10 and the time is 3:03 p.m. Eastern Standard Time. This       10 A.        Yep. I have a number of roles within that.
11 is the recorded video deposition of Marc Fink in the        11 Q.        Can you, kind of, just briefly describe the
12 matter of Lisa Barbounis versus Middle Eastern Forum, et    12 roles you have with Middle East Forum?
13 al, in United States District for Eastern District of       13 A.        Yes. So I am in-house counsel, as you know.
14 Pennsylvania, Case Number 219-cv-05030.                     14 I am also chief editor which involves a lot of
15            My name is Michael Gannone from Everest          15 fundraising materials. I am also director of the Legal
16 Court Reporting and I am the video specialist. The          16 Project, it's an external project that assists people
17 court reporter today is Pam Pratt, also from Everest        17 around the world who are victims of lawfare.
18 Court Reporting. All counsel appearing today will be        18 Q.        Victims of what?
19 noted on the stenographic record. Will the court            19 A.        Lawfare.
20 reporter please swear in the witness.                       20 Q.        Lawfare. What's lawfare?
21                   * * *                                     21 A.        The offensive use of legal action to harass
22                  MARC FINK,                                 22 or bankrupt people.
23         having been first duly sworn, was                   23 Q.        That's an interesting project. How long have
24         examined and testified as follows:                  24 you held that position, director of the Legal Project,
25                   * * *                                     25 with regard to the --
                                                      Page 5                                                           Page 7
 1                 EXAMINATION                                  1 A.        I've -- sorry.
 2                  * * *                                       2 Q.        Go ahead.
 3 BY MR. CARSON:                                               3 A.        The question is, how long have I held this
 4 Q.        Good afternoon, Mr. Fink.                          4 position?
 5 A.        Good afternoon.                                    5 Q.        Specifically the victims of lawfare.
 6 Q.        As you know, my name is Seth Carson and we're      6 A.        Well, make it easier. I've been at the
 7 here today to take your deposition. And I think you          7 Middle East Forum since, I believe, 2012 and I think
 8 probably watched every one of these depositions.             8 within a year or two, I was director of Legal Projects.
 9 A.        I know the drill.                                  9 The other positions I've held the whole time.
10 Q.        So I'm just going to run through them super       10 Q.        And is that -- director of the Legal Project
11 fast; you don't even have to say yes or no. You             11 for lawfare, is that a project that the Middle East
12 understand you're under oath?                               12 Forum sponsors?
13 A.        Yes.                                              13 A.        Yeah, it's -- I say external project. It is
14 Q.        Okay. Keep all your answers verbal. Nods,         14 part of the Middle East Forum, yes. Middle East Forum
15 shrugs don't appear on the record, okay? What else?         15 has different projects, Islamist Watch, Campus Watch,
16 I'll ask questions, you'll answer questions. You can        16 Washington Projects and Legal Projects, and I'm director
17 say whatever you want, yes, no, I don't know, I don't       17 of the Legal Project, which is separate from my legal
18 remember, any other responsive answer you'd like to         18 counsel responsibilities.
19 provide. But if you answer a question, I'm going to         19 Q.        And you said -- when you were hired --
20 assume that you understood the question, okay?              20 sorry -- when were you hired at the Middle East Forum?
21 A.        Yep.                                              21 A.        2012.
22 Q.        All right.                                        22 Q.        And when you were first hired, you were hired
23             MR. CAVALIER: Seth, just since I'm              23 as in-house counsel?
24 stepping in here for Dave, just to note, we're going to     24 A.        Yes. I had another role. To confuse you
25 read and sign, reserve all objections.                      25 more, I was director of Islamist Watch. And as to my --

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 1 as the work grew, I gave that up.                           1 the Middle East Forum until when?
 2 Q.       Okay. Are you involved in -- strike that.          2 A.        Oh, goodness.
 3            We looked at some documents today, one           3 Q.        Ballpark.
 4 of them was called the Middle East Forum Bylaws. Did        4 A.        I just don't remember. Maybe a year, maybe a
 5 you see that document before?                               5 year-and-a-half, two years.
 6 A.       I saw it when you put it up for Mr. Hollin.        6 Q.        Were there any directors in between Efraim
 7 I'm not familiar with the document, I did not work on       7 Karsh and Mr. Roman?
 8 it.                                                         8 A.        See, the titles sometimes don't correspond
 9 Q.       Okay. That was actually going to be my             9 with the activities. Amy Shargel, I think, had had the
10 question. How long has the Middle East Forum been in       10 title of director, I'm not sure. And shortly
11 existence?                                                 11 thereafter, Gregg came.
12 A.       Oh, you're quizzing me on things. I believe       12 Q.        Do you know why --
13 1994. Don't -- I'm not a hundred percent sure. I           13 A.        I don't know --
14 believe 1994.                                              14 Q.        I'm sorry. Do you know why Amy Shargel's
15 Q.       And those bylaws were already in place when       15 employment with Middle East Forum ended?
16 you were hired in 2012?                                    16 A.        I do not. I may have given legal advice on
17 A.       Yes. Yep.                                         17 the matter.
18 Q.       Can you tell me who hired you in 2012?            18 Q.        Was there, like, a reason for termination
19 A.       Yes. That would be Daniel Pipes and a             19 that was provided to her that you're aware of? Was she
20 gentleman by the name of Efriam Karsh who was the          20 terminated, I guess is a better question.
21 director at the time.                                      21 A.        I am not involved in any way in management,
22 Q.       Can you say his name again, please?               22 administration or anything related to that unless there
23 A.       Efriam Karsh.                                     23 is a legal issue that's elevated to me and then I
24 Q.       Efriam Karsh.                                     24 give -- either give advice or hire out the contract or I
25            THE COURT REPORTER: Say it again. I'm           25 secure outside counsel. So in terms of all these
                                                     Page 9                                                          Page 11
 1 sorry.                                                      1 management person -- the answer to that is, I may have
 2           THE WITNESS: Karsh.                               2 given legal advice and I actually don't remember.
 3 BY MR. CARSON:                                              3 Q.      Okay. Amy Shargel was the director before --
 4 Q.         Karsh?                                           4 directly before Mr. Roman?
 5 A.         Yep.                                             5             MR. CAVALIER: Object to form.
 6             THE COURT REPORTER: Wait. I'm sorry.            6             THE WITNESS: Again, I am not sure if
 7 I still didn't get the name. Say it again.                  7 she had the title; I think she did. Maybe it was
 8             THE WITNESS: I'm going to try and spell         8 managing director. Again, I'm not -- I'm not an expert
 9 it, although I'm a poor speller despite the fact that       9 in all these different titles and comings and goings.
10 I'm chief editor. K-A-R -- is it S-H or is there a C in    10 BY MR. CARSON:
11 there? I think it's just K-A-R-S-H.                        11 Q.        Is it fair to say that Mr. Roman began his
12             MR. CARSON: That's how I spelled it.           12 employment around the same time when Amy Shargel's
13             THE COURT REPORTER: What was the first         13 employment ended?
14 name?                                                      14 A.        To the best of my knowledge, there was some
15             THE WITNESS: Efriam, it's an Israeli           15 overlap.
16 name.                                                      16 Q.        And when Mr. Roman began his employment with
17             THE COURT REPORTER: Okay. Thank you.           17 Middle East Forum, what was his position?
18             MR. CARSON: I spelled it F-R-Y-A-M. I          18 A.        Director.
19 don't know if I got it close.                              19 Q.        And were you involved in the hiring process?
20             THE WITNESS: It's E-P-H.                       20 A.        Nope. I may have interviewed, but in the
21             MR. CAVALIER: I think it's                     21 same respect that any other, like, senior member of any
22 E-P-H-R-A-I-M.                                             22 organization would interview people and then the boss
23             THE WITNESS: That would be it.                 23 would ask for your advice, you know, what do you think
24 BY MR. CARSON:                                             24 of this guy. But no, I was not involved in the hiring
25 Q.         Okay. And Efraim Karsh was the director of      25 process except for possibly interviewing.

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 1 Q.       Do you know when his employment -- Mr.             1 that.
 2 Roman's employment began with Middle East Forum?            2 BY MR. CARSON:
 3 A.       I'm not very good with days.                       3 Q.          I'm not asking you to divulge legal advice.
 4 Q.       Ballpark.                                          4 I'm asking, do you know whether they maintain a
 5 A.       I don't remember -- I'm really sorry. I            5 policy --
 6 don't remember, honestly. I don't remember. Maybe it        6 A.          Wasn't involved with it, wasn't really
 7 was, like, two or three years after I started, four         7 involved with it any other way.
 8 years.                                                      8 Q.          Do you know whether the Middle East Forum has
 9 Q.       I think it says on LinkedIn --                     9 a policy to prevent discrimination and harassment in the
10 A.       It's all a blur; it's a blur to me.               10 workplace?     Yes or no; do they have a policy?
11 Q.       That's fair. I believe on LinkedIn, it says       11 A.       I may have -- I may have given legal advice
12 he started around 2015. Does that sound right?             12 on that. I'm not -- again, I'm not in management or
13 A.       That sounds right, yep.                           13 personnel.
14 Q.       Okay. The year that he started, are you           14 Q.       I'm not asking whether you've given legal
15 aware of any allegations of sexual harassment that were    15 advice. I'm just asking you a simple yes-or-no
16 presented by any employees in 2015?                        16 question. I'm not asking you to talk about any
17            MR. CAVALIER: I'm going to object to            17 communications, I'm just asking if you know whether or
18 the form and I'm also going to give the witness an         18 not there's a policy.
19 instruction now, as always during this deposition, to      19 A.       I'll repeat my answer. I may have given
20 answer only to the extent you can answer without           20 legal advice on a sexual harassment policy. That's -- I
21 divulging any attorney-client confidences.                 21 may have given legal advice on a sexual harassment
22            THE WITNESS: Everything I've learned            22 policy. That's the extent of my knowledge.
23 about alleged allegations I've learned through my legal    23 Q.       Did you give legal advice on the sexual
24 representation. I'm really not involved in any other       24 harassment policy?
25 way.                                                       25 A.       I can't remember a hundred percent. I may
                                                    Page 13                                                                Page 15
 1 BY MR. CARSON:                                              1 have. I do a lot of different things. I may have.
 2 Q.        Well, if someone reported sexual harassment     2 It's probably something else that predated me, but I may
 3 at the Middle East Forum and they followed -- strike      3 have.
 4 that.                                                     4 Q.         Before you started working there, did they
 5             Is there a policy for reporting sexual        5 have a policy to prevent sexual harassment?
 6 harassment at the Middle East Forum?                      6 A.         I don't know, I wasn't working there.
 7 A.        I'm not involved with that, but my guess is     7 Q.         But, like, when you started, were you
 8 that the -- there is a personnel director and it would    8 notified about a policy?
 9 go through them. Sorry.                                   9 A.         I don't remember.
10 Q.        Who was the personnel director in 2015?        10 Q.         Did you ever receive an employee handbook?
11 A.        We're going with dates again. To the best of   11 A.         I must have.
12 my knowledge -- again, I don't -- I don't even work in   12 Q.         Was there a policy to prevent discrimination
13 the office, I work remote, so I'm not real familiar with 13 and harassment in the workplace?
14 all the procedures and goings-on. But to the best of my  14 A.         I don't remember. I don't remember.
15 knowledge, Marnie Meyer was the personnel director. I    15 Q.         Were you asked to acknowledge receipt of the
16 don't remember when she started. I do not remember when 16 employee handbook?
17 she started; I don't. Somewhere around that time, 2015,  17 A.         Don't remember.
18 2016.                                                    18 Q.         Do you remember whether you actually did
19 Q.        Yeah. Yeah. So what is your knowledge with     19 acknowledge receipt of the employee handbook?
20 regard to the Middle East Forum's policy to prevent      20 A.         No, I don't remember.
21 discrimination and harassment in the workplace? Do they  21 Q.         Do you know whether or not the Middle East
22 have a policy?                                           22 Forum today has a policy to prevent discrimination and
23             MR. CAVALIER: Same objection, same           23 harassment in the workplace?
24 instruction.                                             24 A.         I do not -- I'm not -- again, not in
25             THE WITNESS: I gave legal advice on          25 personnel, not in management, so -- I only give legal

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 1 advice.                                                          1 without divulging legal confidences or any
 2 Q.        But you're an employee of the Middle East              2 attorney-client communications, you can answer.
 3 Forum, correct?                                                  3            THE WITNESS: I cannot -- I mean, I'll
 4 A.        Yes.                                                   4 try and make it easier for you.   Every single thing in
 5 Q.        Are you a W-2 employee?                                5 that regard is, I just gave legal advice. I wasn't
 6 A.        Yes.                                                   6 involved. Wasn't in the office.
 7 Q.        How many employees does the Middle East Forum          7 BY MR. CARSON:
 8 have?                                                            8 Q.        Well, you didn't give legal advice -- you
 9 A.       I'm not sure.                                           9 became Ms. Barbounis's manager, correct, after she
10 Q.       Can you estimate?                                      10 reported discrimination and harassment in the workplace?
11 A.       I really don't know. Fifteen, 20. I don't              11            MR. CAVALIER: Object to form. You can
12 know. I don't know. It changes. I don't know.                   12 answer.
13 Q.       How many employees work in the Philadelphia            13            THE WITNESS: Yeah, absolutely not. No.
14 office today?                                                   14 BY MR. CARSON:
15 A.       I don't know. I'm not -- I've never worked             15 Q.        You didn't send an e-mail to my client and
16 in the office. I may visit the office two or three              16 tell her that you were going to be her manager at that
17 times a year for maybe an hour or two each time.                17 point?
18 Q.       Where do you work from?                                18 A.        No. But I could help you clear up the
19 A.       I work from my home office.                            19 confusion.
20 Q.       Where is that?                                         20 Q.        Sure.
21 A.       Cherry Hill, New Jersey.                               21 A.        In the summer of 2019 for a number of weeks,
22 Q.       Do you know whether or not the Middle East             22 I supervised the weekly tasks of administrative
23 Forum holds trainings to train their employees in               23 employees. That was only for a few weeks in the summer
24 connection with how to report discrimination and                24 of 2019. I had no authority over them and my -- the
25 harassment in the workplace?                                    25 extent of that supervision was that they would send me a
                                                         Page 17                                                         Page 19
 1 A.       No, I --                                                1 weekly report via e-mail and I would thank them for it.
 2            THE COURT REPORTER: I'm sorry. Mr. --                 2 I do not believe I have ever even spoke with any of them
 3 I missed the end of that question.                               3 or did anything else.
 4 BY MR. CARSON:                                                   4 Q.        But you did send them an e-mail telling them
 5 Q.       I said, do you know whether the Middle East             5 that you were going to be managing their work from here
 6 Forum trains their employees on how to report                    6 on out?
 7 discrimination and harassment in the workplace?                  7 A.       I have no recollection of that, no. I do not
 8 A.       I don't know. I don't know.                             8 believe I did, no. If you want to show me something,
 9 Q.       Have you ever been trained on how to report             9 I'd be happy to look at it. But I do not remember
10 discrimination and harassment in the workplace?                 10 sending them an e -- the only e-mails I sent was, thank
11 A.       I don't recall.                                        11 you for sending me your weekly report. Or sometimes I
12 Q.       Do you know whether or not employees are               12 may have a question, did you do this or do that or you
13 provided with opportunities on any kind of interim basis        13 forgot to send me your weekly report, would you please
14 to report discrimination and harassment in the                  14 send me your weekly report.
15 workplace?                                                      15 Q.       Did you ever investigate any discrimination
16 A.       I'm not in a place to know.                            16 or harassment in the workplace during your employment?
17 Q.       But -- so in your employment, have you ever            17 A.       Absolutely not. Nope.
18 been provided with an opportunity to report --                  18 Q.       You never performed any kind of
19 A.       I may have. I may have gotten a notice for a           19 investigation?
20 meeting. I may have not seen it. I may have                     20 A.       None.
21 disregarded it. I don't remember. I don't remember.             21 Q.       You never took any witness statements?
22 Q.       Do you remember whether Lisa Barbounis ever            22 A.       Nope.
23 reported discrimination and harassment in the workplace?        23 Q.       You never interviewed Gregg Roman?
24            MR. CAVALIER: Objection to form. Same                24 A.       Nope. I may have given Gregg Roman legal
25 instruction as earlier. To the extent you can answer            25 advice.

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 1 Q.       So just to be sure, during your employment          1 talking at the same time.   I apologize.
 2 with the Middle East Forum from the beginning of Gregg        2             MR. CARSON: Yeah. So if you guys have
 3 Roman's employment until today, you've never taken any        3 some sort of message code where you said every time he
 4 investigative measures --                                     4 puts the objection, you're supposed to say that --
 5 A.       No.                                                  5             MR. CAVALIER: Seth, that's not going to
 6 Q.       -- actually with a report of discrimination          6 work.
 7 or harassment in the workplace --                             7             MR. CARSON: -- that's not okay.
 8 A.       No.                                                  8             MR. CAVALIER: We're not going to
 9 Q.       -- involving Gregg Roman?                            9 tolerate it.
10 A.       Never. Nope.                                        10             MR. CARSON: That's the second time
11 Q.       So to your knowledge, whose job was it to           11 where he started to answer a question, you put the
12 investigate reports of discrimination and harassment in      12 objection in and then he changed his answer.
13 the workplace?                                               13             MR. CAVALIER: The witness is giving you
14 A.       I'm not in a position to know. But to help          14 honest answers and I'm lodging valid objections.
15 you, I would assume that it goes to the personnel            15             MR. CARSON: No, you're not.
16 manager.                                                     16             MR. CAVALIER: Don't imply that I'm
17 Q.       Marnie Meyer, at the time?                          17 somehow violating the rules of this deposition. You did
18 A.       Yep.                                                18 that earlier with Dave and it backfired in your face.
19 Q.       And if not Marnie Meyer, Daniel Pipes?              19 Don't try it with me. Ask the question.
20 A.       Yeah, I would assume.                               20             MR. CARSON: It didn't backfire.
21 Q.       Are the reasons you would assume it's Daniel        21             THE WITNESS: I declare it. I have no
22 Pipes is because he's the president of the organization?     22 idea what you're talking about.
23 A.       Yep.                                                23             MR. CARSON: There wasn't a single
24 Q.       And he's the only person in a position to           24 objection that was entered after the call with Mr.
25 investigate Gregg Roman, correct?                            25 Wolson. It worked perfectly, actually. So you might
                                                      Page 21                                                          Page 23
 1            MR. CAVALIER: Object to form.                     1 want to check your definition of backfire.
 2            THE WITNESS: I have to say, I'm sure              2           MR. CAVALIER: Well, regardless, I'm not
 3 that he would be spearheading it, but I don't know what      3 going to sit here and have you make veiled threats in
 4 he would do. You'd have to ask him. But yeah, I would        4 references to motions --
 5 assume he's the president, so he would be spearheading       5           MR. CARSON: It's not a veiled threat.
 6 it, yes.                                                     6 I'm suggesting that every time that you put the
 7 BY MR. CARSON:                                               7 objection in, the answer changes.     So just --
 8 Q.       Did the Middle East Forum, to your knowledge,       8              MR. CAVALIER: Oh, your suggestion is --
 9 hold a meeting on November 5th, 2018 due to reports of        9             THE WITNESS: I was going to -- I don't
10 discrimination and harassment in the workplace involving     10 understand what the -- what the issue is, Seth. I gave
11 Gregg Roman?                                                 11 legal advice.
12 A.       Yes, I do remember that meeting.                    12 BY MR. CARSON:
13 Q.       Were you present at that meeting?                   13 Q.       I'm asking you whether or not you know
14 A.       I was present, yes.                                 14 whether Mr. Roman was invited to attend the November
15 Q.       Was Gregg Roman invited to that meeting?            15 5th, 2018 meeting.
16            MR. CAVALIER: Marc, before you answer,            16             MR. CAVALIER: Same objection, same
17 I'm going to lodge the same objection, give you the same     17 instruction. Subject to that, to the extent you can,
18 instruction with respect to attorney-client                  18 you can answer.
19 communications or confidences.                               19             THE WITNESS: I gave legal advice on
20            THE WITNESS: I gave legal advice on               20 that.
21 that.                                                        21 BY MR. CARSON:
22            MR. CARSON: Yeah, every time you say --           22 Q.       I'm not asking you about legal advice, I'm
23 every time you place an objection and Mr. Fink provides      23 asking --
24 the same answer afterwards. So if you guys --                24 A.       There's an issue and I gave legal advice on
25            THE WITNESS: That is the -- we're                 25 that issue.

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 1 Q.         I'm not asking you what your legal advice         1 A.        I don't remember. You can show me the memo,
 2 was. I'm asking if you know whether he was invited to         2 I'd be happy to look at it.
 3 it or not.                                                    3 Q.       Do you remember receiving a memo?
 4 A.         I refer you to my pervious answer.                 4 A.       I don't.
 5 Q.         Yeah, but -- so what legal advice are you          5 Q.       So how did you find out about the meeting?
 6 referring to? You gave legal advice in connection with        6            MR. CAVALIER: Same objection, same
 7 him coming to the meeting?                                    7 instruction.
 8              MR. CAVALIER: Objection and I'm going            8            THE WITNESS: Yeah.
 9 to instruct you specifically not to answer that               9 BY MR. CARSON:
10 question.                                                    10 Q.       There he goes again. About to answer and
11              MR. CARSON: I'm asking questions                11 then he changes his answer.
12 about -- I'm going to find out what this objection and       12 A.       I was going to -- okay. I'll make it easy
13 this refusal to answer the question is based on, so --       13 for you, Seth. My answer was going to be, I gave legal
14              MR. CAVALIER: It's based on the fact            14 advice.
15 that his awareness of the subject of the answer is part      15 Q.       No, it wasn't.
16 of the legal advice he rendered on the issue that he         16 A.       No. No. No. It was. I was giving legal
17 identified for you. I'm instructing him not to answer        17 advice hour after hour after hour. That's all I was
18 the question.                                                18 doing.
19 BY MR. CARSON:                                               19 Q.       How did you become aware that there was going
20 Q.         How were you aware that Mr. Roman was going       20 to be a meeting on that day?
21 to come to a meeting?                                        21 A.       The same answer. I was giving legal advice.
22              MR. CAVALIER: Let me finish. If you're          22 Q.       You became aware when you were giving advice?
23 going to ask a question, let me finish responding to         23 A.       I gave legal advice on that matter.
24 you. To the extent you just asked him what the legal         24 Q.       And you became aware of the meeting while you
25 advice was that he provided, he's certainly not going to     25 were --
                                                      Page 25                                                         Page 27
 1 answer that.                                                 1 A.   If you want to show me a memo, I'd be happy
 2             MR. CARSON: That isn't what I asked          2 to look at it.
 3 him.                                                     3 Q.       I'll show it to you. You are on this memo,
 4             MR. CAVALIER: That's exactly what you        4 correct?
 5 asked him. If you want to ask him a different question,  5 A.       Yep, looks like it.
 6 you can go ahead.                                        6 Q.       Well, isn't that how you became aware of the
 7             MR. CARSON: That's not what I asked.         7 meeting?
 8 BY MR. CARSON:                                           8            MR. CAVALIER: I'm going to object. To
 9 Q.        Why -- how did you become aware that Mr.       9 the extent you want him to answer questions about this
10 Roman was invited to the meeting?                       10 document, Seth, as I've told you before, you've got to
11             MR. CAVALIER: Objection. Same               11 show him the document and let him read it.
12 instructions. To the extent you can answer subject to   12            MR. CARSON: He's looking at it.
13 that instruction, you can answer.                       13            MR. CAVALIER: He's looking at a header
14 BY MR. CARSON:                                          14 and a block of e-mail addresses. He can't --
15 A.        You didn't become aware due to legal advice,  15            MR. CARSON: He can tell me to scroll
16 correct? You became aware because it was in a memo that 16 around.
17 you were on, correct?                                   17 BY MR. CARSON:
18             MR. CAVALIER: Same objection. Same          18 Q.       Isn't this how you became aware of the
19 instructions.                                           19 meeting?
20 BY MR. CARSON:                                          20 A.       Not necessarily. And again, it goes to me
21 Q.        Right?                                        21 giving legal advice.
22 A.        I can't answer the question.                  22 Q.       Did you receive this memo?
23 Q.        Were you or were you not included in a memo   23 A.       It appears so, yes.
24 that went out to the entire office informing them about 24 Q.       Gregg Roman was invited to the meeting,
25 the meeting?                                            25 correct?

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 1            MR. CAVALIER: Object to form. Object             1 A.       There were a lot of grievances against Gregg
 2 on the same basis as I did earlier. To the extent you       2 at that meeting. That's what I remember.
 3 can answer without giving away attorney-client              3 Q.       Sexual harassment was one of them?
 4 confidences, you can answer.                                4 A.       I don't remember because there were more
 5            THE WITNESS: Yeah, looking at the memo           5 grievances that seemed to be -- people felt more strong
 6 on the screen, assuming that it's correct, which I have     6 about, that he was a really -- difficult to work with,
 7 no doubt -- no doubt that it's not correct, yes.            7 et cetera, et cetera, et cetera.
 8 BY MR. CARSON:                                              8 Q.       I'm just asking about sexual harassment in
 9 Q.       Do you think that's appropriate, that he was       9 the meeting.
10 invited?                                                   10 A.       I vaguely remember.
11            MR. CAVALIER: Same objection, same              11 Q.       You vaguely remember whether there was sexual
12 instruction.                                               12 harassment discussed at a meeting held to discuss sexual
13 BY MR. CARSON:                                             13 harassment?
14 Q.       I'm not asking you to divulge any                 14            MR. CAVALIER: Object to form, object to
15 confidences.                                               15 lack of foundation and object to the mischaracterization
16 A.       That gets into legal advice.                      16 of the prior question and testimony.
17 Q.       Do you think it's appropriate for the             17            THE WITNESS: I do not remember the
18 harasser to be invited to the meeting to discuss --        18 details of that meeting. It was not a seminal event in
19            MR. CAVALIER: Objection to form.                19 my life.
20            THE WITNESS: Legal advice.                      20 BY MR. CARSON:
21            MR. CAVALIER: Object to form. Object            21 Q.       It was a seminal event in Mr. Roman's life,
22 to lack of foundation. And to the extent you can answer    22 correct?
23 without divulging --                                       23 A.       Okay. So ask him.
24 BY MR. CARSON:                                             24 Q.       Mr. Roman lies about it, too.
25 Q.       Mr. Roman was the alleged harasser when           25            MR. CAVALIER: I'm going to object to
                                                    Page 29                                                         Page 31
 1 this --                                                     1 that gratuitous and incorrect statement on the record,
 2             MR. CAVALIER: Seth, let me lodge my          2 for whatever that's worth. I guess there's no question
 3 objections.   You're not going step all over me during   3 pending, though, so there's nothing else to object to.
 4 this deposition.                                         4 BY MR. CARSON:
 5 BY MR. CARSON:                                           5 Q.       Mr. Roman testified that he didn't know about
 6 Q.        Mr. Roman was the alleged harasser, correct,   6 the meeting either, correct?
 7 when this memo came out?                                 7           MR. CAVALIER: Object to form, object to
 8             MR. CAVALIER: I'm going to object to         8 lack of foundation. You can answer to the extent you
 9 form. You can answer that to the extent possible.        9 can, again, without divulging any attorney-client
10             THE WITNESS: Repeat your question.          10 confidences.
11 BY MR. CARSON:                                          11 BY MR. CARSON:
12 Q.        Mr. Roman was the alleged harasser when this 12 Q.        Was there a meeting held to discuss how to
13 memo was sent, correct?                                 13 avoid questions with regard to the deposition today?
14 A.        Again, I'm going to assert privilege myself.  14           MR. CAVALIER: I'll just object to the
15 This is -- all has to do with legal advice I was giving 15 implication there. But you can answer that as long as
16 at the time.                                            16 you don't talk about anything that you and I talked
17 Q.        My question doesn't.                          17 about.
18 A.        If you want to ask me about something that    18           THE WITNESS: Absolutely not.
19 happened in the meeting, I probably don't remember, but 19 BY MR. CARSON:
20 I'd be happy to answer you.                             20 Q.       So you think that the allegations of sexual
21 Q.        Was it alleged at the meeting that Mr. Roman  21 harassment were the least important allegations
22 sexually harassed three women?                          22 discussed at that meeting; is that your testimony?
23 A.        I'm sorry. Repeat that.                       23           MR. CAVALIER: Object to form. Object
24 Q.        Were there allegations discussed at the       24 to the mischaracterization of prior testimony.
25 meeting of sexual harassment?                           25           THE WITNESS: Ask me a straight
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 1 question, I'll answer you.   I don't understand.             1 Q.  Do you know whether anyone ever investigated
 2 BY MR. CARSON:                                          2 allegations that Mr. Roman maintained a sexual
 3 Q.       Answer the question I asked you.               3 relationship with Ms. Merville?
 4            MR. CAVALIER: Same objection.                4 A.       I don't even know who she is, so the answer's
 5 BY MR. CARSON:                                          5 no.
 6 Q.       Is it your testimony that the least important  6 Q.       Is that something that Middle East Forum
 7 allegations raised at that meeting were allegations of  7 should have done?
 8 sexual harassment?                                      8            MR. CAVALIER: Object to form. I'm
 9 A.       Yeah. Yeah, that's my memory. Yes. Yes.        9 going to give instruction again. To the extent you can
10 Yeah. Yeah.                                            10 answer that without divulging attorney-client
11 Q.       So why was that meeting called?               11 confidences, you can try to answer.
12 A.       That goes to legal advice.                    12            THE WITNESS: Again, I could -- I'm
13 Q.       Well, what's your understanding of why it was 13 telling you, I never even heard of her and I have no
14 called?                                                14 idea.
15            MR. CAVALIER: Same --                       15 BY MR. CARSON:
16            THE WITNESS: That goes to legal advice.     16 Q.       Do you think that the Middle East Forum is
17 BY MR. CARSON:                                         17 obligated to investigate every allegation of sexual
18 Q.       I'm not asking about any advice that you      18 harassment presented?
19 gave. I'm not asking about any advice that anyone else 19            MR. CAVALIER: Object to form. Same
20 gave. When Daniel Pipes sent the memo, what was your 20 instruction with respect to the privilege. To the
21 understanding about the meeting?                       21 extent you can answer without disclosing any privileged
22            MR. CAVALIER: Same objection, same          22 information, you can answer.
23 instruction.                                           23            THE WITNESS: I think that every
24            THE WITNESS: I cannot answer that           24 organization should definitely investigate any
25 without divulging advice I gave to the Middle East     25 allegations of sexual harassment coming from an
                                                      Page 33                                                         Page 35
 1 Forum.                                                       1 employee, yes.
 2 Q.       Yeah, you can.                                      2 BY MR. CARSON:
 3            MR. CAVALIER: No, he can't. He just               3 Q.         Only coming from employees?
 4 told you he can't. He's not going to.                        4 A.         Yeah.
 5            THE WITNESS: I did my best to describe             5 Q.        So if customers allege sexual harassment --
 6 what went on in the meeting. I really don't remember          6 A.        Well, that could -- well, that's another
 7 too much. That's about as much as I could do.                 7 legal issue, but definitely employees.
 8 BY MR. CARSON:                                                8 Q.        Well, isn't it the same issue?
 9 Q.       Did you ever to talk to my clients about             9 A.        I don't know what you're talking about. Who
10 sexual harassment?                                           10 are we talking about?
11 A.       To the best of my knowledge, no. I have             11 Q.        I'm talking in general with regard to MEF's
12 barely ever spoken with your clients at all.                 12 policy to prevent discrimination and harassment --
13 Q.       Did you ever talk to Lisa Barbounis about           13 A.        We don't have customers, we're not a retail
14 sexual harassment?                                           14 store.
15 A.       Not to my knowledge, no.                            15             MR. CAVALIER: I'm going to object to
16 Q.       Patricia McNulty?                                   16 the lack of foundation and the reference back to the
17 A.       Not to my knowledge, no.                            17 fact that you now say you were talking about MEF's
18 Q.       Gabrielle Bloom?                                    18 policies when the question was general in nature to
19 A.       I don't even know who that is.                      19 begin. Subject to that objection --
20 Q.       Do you know why she was given money?                20             THE WITNESS: I don't know what MEF's
21 A.       I don't even know who that is. No idea.             21 policy -- you said this is a general should an
22 Seth, I hear the name in depositions. No idea who that       22 organization. That was what I was -- to be clear of the
23 is.                                                          23 record, I was answering should any organization.
24 Q.       Do you know who Leah Merville is?                   24 BY MR. CARSON:
25 A.       No idea.                                            25 Q.        Yeah, repeat the same thing your lawyer just
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 1 said.  Go ahead. Go ahead.                                   1 I'm repeating my same answer.
 2 A.        What's that?                                       2 Q.       We're --
 3 Q.        Go ahead and repeat what your lawyer just          3            THE COURT REPORTER: I'm sorry. What
 4 said. Go ahead, I'll let you do it. Go ahead.                4 did you say, Mr. Carson.
 5 A.        I don't understand what you just said.             5 BY MR. CARSON:
 6 Q.        I know you don't.                                  6 Q.       We're going to discuss it for as long as it
 7             MR. CAVALIER: He's trying to be a                7 takes. If it takes two hours, it will take two hours.
 8 smartass.                                                    8 A.       I refer you to my previous answer or you
 9             MR. CARSON: No, what you're doing                9 could ask it again.
10 obstructing the deposition is inappropriate.                10 Q.       I'll ask the question. Based on your being
11             THE WITNESS: Well, for the record, I            11 present, what was the most serious allegation alleged in
12 mean, I'm trying to be as straight as possible and get      12 connection to Gregg Roman's conduct?
13 through this for all of us. I'm not trying to play any      13            MR. CAVALIER: Object to form.
14 games. So I'm taking you at your -- at you being            14            THE WITNESS: I'll answer it again.
15 straight.                                                   15 That he was a hard boss.
16 BY MR. CARSON:                                              16 BY MR. CARSON:
17 Q.        Right. And so then it's your testimony today      17 Q.       So it wasn't alleged -- was it alleged at the
18 that the November 5th, 2018 meeting was not called in       18 meeting that he put hands on Patricia McNulty?
19 connection to allegations of sexual harassment?             19 A.       I don't remember.
20 A.        I did not answer that question because it         20 Q.       Well, wouldn't that be more serious than him
21 went into legal advice.                                     21 being a hard boss?
22 Q.        Well, based on being there, was it called for     22            MR. CAVALIER: Object to the form and
23 that?                                                       23 the use of the word "serious."
24             MR. CAVALIER: Same objection.                   24 BY MR. CARSON:
25             THE WITNESS: I'm happy to repeat the            25 Q.       Significant.
                                                     Page 37                                                          Page 39
 1 answer I gave previously.   From what I --                   1 A.    You're asking my impression -- go ahead.
 2 BY MR. CARSON:                                            2 You're asking my impression of a meeting two-and-half
 3 Q.        You were present at the November 5th, 2018 3 years ago -- three or two years ago, whatever. You're
 4 meeting, right?                                           4 asking my impression. That's -- I'm giving you my
 5 A.        Yes.                                            5 impression. You could ask it a hundred different ways.
 6 Q.        So based on being there, was that meeting       6 Q.       So you think that if someone talks about
 7 called to discuss allegations of sexual harassment?       7 their supervisor putting hands on them in a sexually
 8 A.        I cannot get into why it was called. Sitting    8 inappropriate way and then another somebody talks about
 9 there -- and I don't remember a lot, but sexual           9 someone being a hard boss, it's more significant or
10 harassment was definitely not the biggest issue in that 10 concerning that --
11 meeting. It was a rant session about what a hard boss 11 A.          I do not remember --
12 Gregg Roman -- Gregg Roman was.                          12            MR. CAVALIER: Object to form.
13 Q.        What was the most serious issue discussed at   13            THE COURT REPORTER: Gentlemen, I can't
14 that meeting?                                            14 do this.
15 A.        I don't remember.                              15            MR. CAVALIER: Marc -- Marc -- Marc, let
16 Q.        Wasn't it allegations that he sexually         16 him finish the question and let me -- again, give me
17 assaulted two employees?                                 17 time to object.
18 A.        I just said it wasn't.                         18            THE WITNESS: Okay. I'm sorry.
19 Q.        Why are you saying that it wasn't, because     19            MR. CARSON: Yeah, he has to tell you
20 they didn't focus on that the entire time?               20 how to answer.
21 A.        It was --                                      21            MR. CAVALIER: Seth, I've got to tell
22             MR. CAVALIER: Object to form.                22 you, you do that one more time and we're done with this
23             THE WITNESS: I'm repeating the same          23 deposition.
24 answer. I mean, if you want to talk about it for two     24            MR. CARSON: No, we're not.
25 hours, I guess we could talk about it for two hours, but 25            MR. CAVALIER: Watch it happen.
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 1           MR. CARSON: It's not going to happen.             1          THE WITNESS: What's the question?
 2           MR. CAVALIER: Do it again and we'll            2 Seth, I'm trying to be straight with you. I'm not
 3 see.                                                     3 trying to play games or grandstand. What's the
 4            MR. CARSON: I'll do it -- as many times       4 question?
 5 as you tell how to answer is as many times as I'll do    5 BY MR. CARSON:
 6 it.                                                      6 Q.        My question is, do you have any specific
 7 BY MR. CARSON:                                           7 reasons to remember an e-mail sent by Patrician McNulty
 8 Q.       Do you see this e-mail right here?              8 on 11-4-2018 which he copied to you?
 9 A.       Scroll up. Scroll up -- scroll up to the        9 A.        I do not remember that e-mail, no. But I see
10 top.                                                    10 I'm on -- I don't dispute that I had it, I don't dispute
11 Q.       The first e-mail we looked at --               11 that I read it.
12            MR. CAVALIER: Seth, are you going to         12 Q.        Well, do you think this -- go ahead.
13 let him see the document or not?                        13 A.        Nothing else.
14            MR. CARSON: The first e-mail that we         14 Q.        Do you think Ms. McNulty remembers sending
15 looked at will be Fink-1 and it's going to be D -- hold 15 this e-mail?
16 on -- and it's going to be D13 -- it's going to be D13. 16             MR. CAVALIER: Object to form.
17 So Fink-1 is D13, okay? Fink 2 is going to be D2, okay? 17 BY MR. CARSON:
18       (Exhibits Fink-1 and Find-2 were marked           18 Q.        Is that funny?
19             for identification.)                        19 A.        Yeah. I don't even know her. How am I
20 BY MR. CARSON:                                          20 supposed to know if she remembers? Ask her. Why are
21 Q.       Now, where do you want me to scroll?           21 you asking me?
22 A.       I don't know. What do you want to show me,     22 Q.        Well, it's an e-mail where she alleged that
23 this e-mail right here? Okay. Stop right there. Is      23 Gregg Roman, her boss, put his hands on her in a
24 this what you want to show me?                          24 sexually inappropriate way.
25 Q.       Marked Fink-2 and it's Bates-stamped D2.       25 A.        So what's the question?
                                                    Page 41                                                          Page 43
 1 A.       Okay. So what do you want to ask me about          1 Q.        So chances are, she remembers it, right?
 2 it?                                                         2             MR. CAVALIER: Object to the foam.
 3 Q.        You were on this e-mail, correct?                 3             THE WITNESS: I have no idea if she
 4 A.        I see that I was copied, I do not remember        4 remembers it.
 5 the e-mail.                                                 5 BY MR. CARSON:
 6 Q.        You received it, though, correct?                 6 Q.        "Dear Daniel: On November 1st, I confirmed
 7 A.        If that's correct, I did. I do not have any       7 with you that I was aware of certain indiscretions
 8 memory of it.                                               8 between Lisa Barbounis and Gregg Roman during a trip to
 9 Q.        Well, I'm showing you a document that was         9 Israel in May. While the two were in Israel, Lisa and I
10 produced.                                                  10 had a conversation via text and call where she expressed
11 A.        Okay. I'm not disputing it -- I'm not            11 Gregg was inappropriate toward her and had also informed
12 necessarily disputing it. I just said, I don't remember    12 her of his previous indiscretions with MEF intern Leah
13 it. I get hundreds of e-mails a day.                       13 Merville. She mentioned being very scared and
14 Q.        This was just another e-mail you got,            14 uncomfortable, to the extent that she had a knife under
15 correct?                                                   15 her pillow." You don't remember receiving this?
16 A.        I got thousands of e-mails with this matter.     16 A.        I gave legal advice.
17 Q.        Yeah, and this is just another one that you      17 Q.        Do you remember -- I asked you, do you
18 had to deal with, correct?                                 18 remember receiving the e-mail?
19             MR. CAVALIER: Object to form.                  19             MR. CAVALIER: Object to the form and
20 BY MR. CARSON:                                             20 object to asked and answered.
21 Q.        No reason to remember it, right?                 21             THE WITNESS: I don't remember this
22 A.        So what's the question?                          22 particular e-mail.
23 Q.        Do you have any reason to remember this          23 BY MR. CARSON:
24 e-mail?                                                    24 Q.        You don't remember it, right? Right?
25             MR. CAVALIER: Object to form.                  25 A.        I refer you to my previous answer.
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 1 Q.       Exactly. I mean, we're going to get to the           1 remember receiving it.     How do you know you don't
 2 bottom of this. But you just said you don't remember          2 remember receiving it when you didn't read it yet?
 3 receiving it, he puts his objection in and then you just      3 A.        I've been staring at this e-mail for five
 4 changed to I refer you to my previous answer.                 4 minutes.
 5            MR. CAVALIER: I'm going to object to               5 Q.        I'll continue. It hasn't been up for five
 6 that categorization.                                          6 minutes. I'll continue, though. "When she mentioned
 7 BY MR. CARSON:                                                7 Gregg was being weird and had drank too much and was
 8 Q.       Do you remember receiving the e-mail?                8 making her feel uncomfortable, I asked her if he meant
 9 A.       I answered that question ten times.                  9 he was getting the AIPAC couches. My reference was to
10            MR. CAVALIER: Object as asked and                 10 the night after our MEF dinner at AIPAC. Following the
11 answered.                                                    11 dinner, we attended another AIPAC event where guests
12            THE COURT REPORTER: All right. All                12 were drinking before going to a bar. After the bar, MEF
13 right. All right. Gentlemen. Gentlemen, I can't keep         13 staff and a few other AIPAC attendees went back to the
14 doing this. One at a time, please.                           14 Airbnb where Gregg was staying. In the living room,
15 BY MR. CARSON:                                               15 Gregg was sitting on the couch in between Lisa and
16 Q.       I've now read you the first paragraph of the        16 myself. Matt Bennett, Marnie Meyer, Raheem Kassam and
17 e-mail. Does that ring any bells? Do you remember yet?       17 three other men who I did not know were all in the room
18            MR. CAVALIER: Object to form.                     18 discussing work and possible collaborations. After
19            THE WITNESS: I do not remember this               19 about 15 minutes, Gregg abruptly asked the three men to
20 particular e-mail. I gave massive amount of legal            20 leave the room. At that point, as the men were trying
21 advice on the topic in the e-mail.                           21 to wrap up their conversations with Matt, Gregg put his
22 BY MR. CARSON:                                               22 arm around Lisa and myself and pulled me in to him so
23 Q.       Uh-huh. "She mentioned being very scared and        23 that I was almost in his lap and began whispering in my
24 uncomfortable to the extent that she had a knife under       24 ear that no other men should be in the room." Do you
25 her pillow." Did you remember that?                          25 remember that?
                                                      Page 45                                                          Page 47
 1              MR. CAVALIER: Object to form. Same               1 A.        I gave a lot of legal advice on those
 2 objections.                                                   2 issues -- those accusations.
 3 BY MR. CARSON:                                                3 Q.        But this is what was discussed on November
 4 Q.         Did you remember receiving the e-mail now?         4 5th, 2018, correct?
 5 A.         Seth, my answer's not going to change. I've        5 A.        So now we're back at the meeting.
 6 been consistent. I've not changed my answer at all.           6 Q.        This e-mail was sent the day before November
 7 Q.         So you know that you're going to say that you      7 5th, 2018, correct?
 8 don't remember receiving it regardless of what the            8 A.        I do not remember what happened at that
 9 e-mail says?                                                  9 meeting except for how I previously characterized it.
10 A.         You could read it to me 30 times. I remember      10 Q.        This is the e-mail she sent in advance of the
11 that you read it to me three minutes ago. I do not           11 meeting, right?
12 remember this particular e-mail and reading it.              12             MR. CAVALIER: Object to form.
13 Q.         You haven't even read it. How come you're         13             THE WITNESS: I don't remember the
14 testifying you don't remember receiving something that       14 dates.
15 you haven't even read?                                       15 BY MR. CARSON:
16              MR. CAVALIER: Object to form.                   16 Q.        Well, we're looking at the dates right here.
17 BY MR. CARSON:                                               17 You don't --
18 Q.         Have you taken the time to read this e-mail       18 A.        Maybe it was after, maybe it was before. I
19 today? No, right?                                            19 don't know.
20              MR. CAVALIER: Seth, you know what?              20 Q.        Well, we're looking at it. It was November
21 I'll just -- I'll let you ask the question. I mean,          21 4th, 2018.
22 you're asking him two different questions.                   22 A.        Okay. Well, when was the meeting? I don't
23 BY MR. CARSON:                                               23 even know.
24 Q.         You have not taken the time to read this          24 Q.        You don't know when the November 5th meeting
25 e-mail today and you're testifying that you don't            25 was?

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 1 A.       Okay, November 5th. So what's the question?        1 more concerned with him being a bad boss?
 2 Q.       The question was, isn't this what was              2 A.      Because they spent the vast majority of the
 3 discussed at the November 5th meeting?                      3 meeting going on and on about what a hard boss he was.
 4 A.       I already characterized my memory of the           4 Q.        You remember that?
 5 meeting.                                                    5 A.        Yeah.
 6 Q.       Nonresponsive.                                     6 Q.        And you don't remember --
 7 A.       I have responded -- I've been responding for       7 A.        Because it took up most of the time.
 8 ten minutes. I can repeat what I said.                      8 Q.        And you don't remember her talking about what
 9 Q.       Wasn't this discussed at the meeting?              9 she e-mailed the day before the meeting about?
10 A.       I do not recall.                                  10 A.        I do not. I don't remember much about the
11 Q.       Well, this is more serious --                     11 meeting.
12 A.       That's your characterization.                     12 Q.        You just remember it was about him being a
13 Q.       -- than Gregg being a bad boss, correct?          13 bad boss, though? That you remember, right?
14 A.       It wasn't his being a bad boss.                   14 A.        Everybody took their turn and was saying how
15            MR. CAVALIER: Object to the form of the         15 awful it was to work for him, yes.
16 last question. Marc, you can move on.                      16 Q.        Well, who took their turn?
17 BY MR. CARSON:                                             17 A.        Including males; including Matthew Bennett.
18 Q.       It wasn't just being the bad boss, what do        18 Q.        Matthew Bennett complained about Mr. Roman's
19 you mean by that?                                          19 inappropriate behavior at the meeting; didn't he?
20 A.       No, it meant that -- well, it was being a         20             MR. CAVALIER: Object to form.
21 really hard boss and basically driving them crazy and      21             THE WITNESS: Matthew Bennett complained
22 they couldn't put up with it. But I don't remember -- I    22 about Gregg Roman being a hardass boss who was very
23 don't remember any other details. But that was -- they     23 difficult to work with. That was the gist of the
24 were going around ranting about him for, like, an hour.    24 meeting that I remember.
25 That's all I remember.                                     25 BY MR. CARSON:
                                                    Page 49                                                            Page 51
 1 Q.       They were just ranting about Gregg Roman?          1 Q.       Did anyone ever report sexual harassment at
 2 A.       Yes. Yep.                                          2 that meeting?
 3 Q.       Nothing serious?                                   3 A.       Again, I don't remember.
 4            MR. CAVALIER: Object to form.                    4 Q.       Did Mr. Pipes bring up this e-mail at the
 5 BY MR. CARSON:                                              5 meeting?
 6 Q.       Wasn't this more serious than being a bad          6 A.       I don't remember.
 7 boss?                                                       7 Q.       Well, isn't that something that you think
 8            MR. CAVALIER: Object to form and use of          8 should have been brought up at the meeting?
 9 the word "serious."                                         9 A.       Ask him. I don't know.
10 BY MR. CARSON:                                             10 Q.       Wasn't part of your job to help understanding
11 Q.       Wasn't this more concerning a report than         11 these issues?
12 being a bad boss?                                          12 A.       My job was to give legal advice to the Middle
13 A.       I've already answered you.                        13 East Forum officials and I did that a lot. And I was
14 Q.       I don't know what you said.                       14 not involved any other way except I was at that meeting.
15 A.       What are you asking me? Are we at the             15 Q.       Do you believe this happened?
16 meeting?                                                   16            MR. CAVALIER: Object to the form.
17 Q.       Isn't it --                                       17 BY MR. CARSON:
18 A.       My characterization of the meeting is as I've     18 Q.       There's a question pending.
19 been telling you. They were much more concerned about      19 A.       Is there a question on the table?
20 him being a bad boss than any allegations of sexual        20 Q.       Yeah.
21 harassment. I don't even remember them coming up.          21 A.       What's the question?
22 Q.       How do you know what they were concerned          22 Q.       Do you believe this happened?
23 about?                                                     23 A.       Yeah, I'm not going -- that's an
24 A.       I don't remember.                                 24 inappropriate line of questioning. I'm their attorney.
25 Q.       So then why are you saying they were much         25 I mean, are you going to have John and Dave -- put them

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 1 under oath and ask them?                                    1 A.      I do not.
 2 Q.       I'm asking you, because you were there when      2 Q.        So when Daniel Pipes talks about performing
 3 it was reported, whether or not you believed the          3 this investigation yesterday, that had nothing to do
 4 allegations.                                              4 with you?
 5 A.       I was only at the meeting. I don't even          5 A.        I'll repeat my previous answer if you want.
 6 remember what was said at the meeting. So you're asking   6 Had nothing to do with any investigation. I only gave
 7 me to give you an opinion on something I don't remember.  7 legal advice.
 8 Other than that, everything I know about this case was    8 Q.        Do you know whether Daniel Pipes interviewed
 9 in the context of me giving legal advice.                 9 Mr. Roman?
10 Q.       You were cc'd on his response, too, correct?    10             MR. CAVALIER: Objection. Same
11 A.       I was cc'd on a ton of stuff. So if you're      11 instruction as before. To the extent you can answer
12 going to ask me each one, I mean, I'm probably not going 12 without divulging attorney-client information, you can
13 to remember it. I probably was cc'd on literally tens    13 answer.
14 of thousands of e-mails.                                 14             THE WITNESS: I assume that he
15 Q.       You know before you look at the documents       15 interviewed everybody. I do not know what he did or how
16 that you're not going to remember, right?                16 he did it or who he involved. But I will tell you that
17            MR. CAVALIER: Object to the form.             17 I assume that he interviewed everybody.
18            THE WITNESS: Okay. Show me -- show me         18 BY MR. CARSON:
19 what you want me to look at.                             19 Q.        Well, Mr. Roman testified that you're the one
20    (Exhibit Fink-3 was marked for identification.)       20 who interviewed him.
21 BY MR. CARSON:                                           21             MR. CAVALIER: Objection to the --
22 Q.       Okay. Well, what about D1, which will be        22 BY MR. CARSON:
23 Fink-3?                                                  23 Q.        So what's your response to that?
24 A.       You've got to scroll up. Okay. So what          24             MR. CAVALIER: Objection to form and
25 about this? Again, this is -- okay, so I was copied on   25 objection to the foundation. To the extent you can
                                                    Page 53                                                            Page 55
 1 it. I don't remember reading it, but I certainly            1 answer, you can answer.
 2 remember giving legal advice about this.                    2             THE WITNESS: I don't know what he's
 3 Q.        It says here that Daniel Pipes -- it says         3 thinking, but he's either misinformed, made a wrong
 4 here that he investigated this matter yesterday. Do you     4 assumption or didn't understand.
 5 see that?                                                   5 BY MR. CARSON:
 6 A.        Uh-huh.                                           6 Q.        Okay. Did you -- you obviously know what
 7 Q.        Do you help in this investigation at all?         7 retaliation is, correct?
 8 A.        Absolutely not. I already answered that.          8             MR. CAVALIER: I'm going to object to
 9 Q.        I was specifically referring to --                9 the form.
10 A.        I investigated nothing. But the contents of      10 BY MR. CAVALIER:
11 this e-mail, I gave a massive amount of legal advice.      11 Q.        I'm assuming you know because you're a
12 Q.        Were you present when Gregg Roman said that      12 lawyer.
13 he takes these matters -- were you present when Gregg      13             MR. CAVALIER: Same objection.
14 Roman acknowledged that his conduct, whatever his          14 BY MR. CARSON:
15 intentions, were not acceptable?                           15 Q.        Retaliation under the Title 7?
16 A.        I don't remember.                                16 A.        Obviously I know that, yes.
17 Q.        And put these employees in a difficult           17 Q.        Were you involved in any measures at the
18 position?                                                  18 Middle East Forum to make sure that there was no
19 A.        I don't remember. I gave legal advice to the     19 retaliation after these reports were made?
20 president, I gave legal advice to the director and         20            MR. CAVALIER: Objection. Same
21 sometimes I gave legal advice to both.                     21 instruction with respect to the privilege. Subject to
22 Q.        Were you present when he acknowledged himself    22 that, to the extent you can answer, you can answer.
23 as a social junkie?                                        23            THE WITNESS: Number one, I gave legal
24 A.        I don't remember.                                24 advice. Number two, I was not involved in personnel or
25 Q.        Do you know what that means?                     25 management.

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 1 BY MR. CARSON:                                                       1 over them.
 2 Q.       Do you know whether the employees, Ms.                      2 BY MR. CARSON:
 3 McNulty, Ms. Meyer, Ms. Barbounis, Ms. Brady, continued              3 Q.       It says, "Until further notice, please report
 4 to report issues related to discrimination and                       4 to him, not to me."
 5 harassment in the workplace after November 5th, 2018?                5 A.       Yep, they did.
 6             MR. CAVALIER: Same objection, same                       6 Q.       "This means fundraising activities, financial
 7 instruction.                                                         7 statements, weekly reports and so forth should be
 8             THE WITNESS: I gave legal advice on                      8 addressed to Marc and he will supervise your work,"
 9 that.                                                                9 correct?
10 BY MR. CARSON:                                                      10 A.       Yep, I did. That's what I referred to,
11 Q.        I'm just asking if you know if they reported              11 again, before.
12 anything. Did they tell you anything?                               12 Q.       We can see here that you were -- see right
13 A.        To me personally?                                         13 here?
14 Q.        Yeah.                                                     14 A.       Uh-huh.
15 A.        No. No.                                                   15 Q.       You received this e-mail, correct?
16 Q.        Did they include you in e-mails where they                16 A.       I don't dispute it. I just don't remember
17 reported issues?                                                    17 it.
18 A.        Not to my knowledge.                                      18 Q.       So why did you only -- why were you put in
19 Q.        I'm going to show you another document first.             19 charge of these women specifically?
20             MR. CAVALIER: Seth, do you want to go                   20            MR. CAVALIER: Object to form.
21 off the record and take five while you're looking for               21            THE WITNESS: I don't know.
22 your docs?                                                          22 BY MR. CARSON:
23             MR. CARSON: No.                                         23 Q.       Were you asked to supervise the work of any
24 BY MR. CARSON:                                                      24 of the male employees?
25 Q.        Did you send this e-mail?                                 25 A.       No, I was asked to supervise the work of
                                                             Page 57                                                        Page 59
 1 A.       Excuse me?                                                  1 administrative employees and those are the employees who
 2 Q.       Did you ever -- strike that.                                2 are -- those are the employees who are cc'd.
 3            Did you ever read this e-mail?                            3 Q.      It just happens to be that the same employees
 4 A.       I do not remember that e-mail, no. We                       4 you were asked to supervise are the ones --
 5 discussed this at the beginning.                                     5 A.       Those are all of them; there aren't any more.
 6 Q.       Okay. It says here that you're acting --                    6 Q.       Right. Agreed. One, two, three, four, five
 7 you're the new acting deputy director, right?                        7 women, right?
 8 A.       I'm not familiar -- I never saw that e-mail.                8 A.       There were no -- there were no men. That was
 9 Maybe I got it. I'm not familiar with that title.                    9 the administrative staff.
10 Doesn't really mean anything. But I did explain to you              10 Q.       It includes the names of five women, correct?
11 what I did in the summer of 2019.                                   11 Lisa Barbounis, Catriona Brady, Patricia McNulty, Marnie
12 Q.       Well, this e-mail says that until further                  12 Meyer and Delaney Yonchek, right?
13 notice, Catriona Brady, Patricia McNulty, Marie Meyer,              13 A.       That's what it says in the e-mail.
14 Delaney Yonchek have to report to you, correct?                     14 Q.       And they're the five women who all brought
15            MR. CAVALIER: Objection to form.                         15 claims involving Mr. Roman's discrimination and
16 BY MR. CARSON:                                                      16 harassment based on sex and gender, right?
17 Q.       That's what it says.                                       17            MR. CAVALIER: Object to form. You can
18            THE WITNESS: Someone just said                           18 answer.
19 something.                                                          19 BY MR. CARSON:
20            MR. CAVALIER: I just said objection to                   20 Q.       They are five women?
21 form. You can answer.                                               21 A.       I learned this from my legal representation.
22            THE WITNESS: Yeah. No, I explained                       22 But it has nothing to do with the fact that those are
23 that to you. I mean, I'm happy to discuss it more.                  23 the only administrative staffers.
24 They sent me weekly reports, they'd e-mail them to me,              24 Q.       Well --
25 and I thanked them for them. I had no other authority               25 A.       At that time.
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 1 Q.       Isn't it true that that was done directly           1 7:28.
 2 after charges of discrimination were filed with the          2 A.        If you're asking me to identify something,
 3 EEOC?                                                        3 just scroll down to the -- to what he's responding to.
 4            MR. CAVALIER: Object to form.                     4 Q.        So this is the e-mail that I believe is being
 5            THE WITNESS: Actually, no, it was done            5 responded to.
 6 in the summer of 2019. This whole thing started long         6 A.        Scroll to the top. Okay. I see I was
 7 before then.                                                 7 copied.   I don't remember looking at this particular
 8 BY MR. CARSON:                                                8 e-mail. But I do remember the contents of the e-mail
 9 Q.       Didn't you receive an e-mail on June 29th,           9 because I gave legal advice on them.
10 2019 that Lisa Barbounis and Patricia McNulty had filed      10 Q.       You remember the contents of this e-mail?
11 charges with the EEOC just a week before that?               11 A.       I remember giving legal advice on the
12 A.       I don't remember. You could show me and I           12 contents of the e-mail.
13 could confirm it.                                            13 Q.       So what is the contents of it -- what part of
14 Q.       Who's Gary?                                         14 the e-mail did you give legal advice on?
15            MR. CAVALIER: Object to form.                     15            MR. CAVALIER: Object to form and
16            THE WITNESS: Gary is a -- again, this             16 instruct you not to answer based on the attorney-client
17 goes to me not knowing -- not being involved in              17 privilege.
18 management and knowing what everybody does, but Gary --      18            MR. CARSON: I'm just asking him to
19 I believe he's a website manager.                            19 point out the e-mail.
20 BY MR. CARSON:                                               20 BY MR. CARSON:
21 Q.       He's a full-time employee who --                    21 Q.       What part of this e-mail do you remember?
22 A.       He's not an administrative staffer.                 22            MR. CAVALIER: He already answered the
23 Q.       He's a male employee who works in the office        23 question.
24 full-time, correct?                                          24            THE WITNESS: I don't dispute that the
25 A.       I do not believe he works in the office             25 e-mail is legitimate.
                                                      Page 61                                                           Page 63
 1 full-time -- I don't -- strike that.
                                      I do not believe       1 BY MR. CARSON:
 2 he works in the office and I'm not sure if he works full  2 Q.        I'm asking, what part of this e-mail do you
 3 or part-time. I'm not sure if he's a contractor or an     3 recall, or all of it?
 4 employee. He's not part of the administrative staff.      4 A.        I gave legal advice on the contents of that
 5 He's, kind of, like a project director.                   5 e-mail.
 6 Q.        In July of 2019, he worked in the office        6 Q.        Well, which part?
 7 full-time, right?                                         7             MR. CAVALIER: Well, object to form and
 8 A.        Again, to repeat my answer, I do not know.      8 object to -- he's not going to answer that question.
 9 Q.        Was it done in response to the charges, you     9 I'm instructing him not to answer.
10 being put in charge of the women?                        10             THE WITNESS: I'm not going to answer.
11 A.        I have no idea. Daniel Pipes asked me to do    11 BY MR. CARSON:
12 it and I did it.                                         12 Q.        Well, what part of the e-mail do you
13 Q.        Is it possible it was done in response to the  13 remember?
14 charges?                                                 14             MR. CAVALIER: That's asked and
15 A.        I have no idea. You'd have to ask -- I         15 answered.
16 cannot speculate on that.                                16             THE WITNESS: I already answered.
17 Q.        Do you have reason to believe it wasn't?       17 BY MR. CARSON:
18             MR. CAVALIER: Objection.                     18 Q.        Do you remember the whole e-mail?
19             THE WITNESS: Repeat my previous answer.      19 A.        I already answered.
20    (Exhibit Fink-4 was marked for identification.)       20 Q.        I'm asking, do you recall this entire e-mail?
21 BY MR. CARSON:                                           21 A.        I refer you to my previous answer.
22 Q.        All right. So the next document that we'll     22 Q.        I'm asking you a different question. Do you
23 look at is 21, so Fink Number 4. Fink-4 is D21 to 23.    23 recall receiving this entire e-mail?
24 Do you remember receiving these e-mails? This is the     24 A.        I answered that.
25 response, so this is the e-mail to which 447 -- 4-23 at  25 Q.        You know exactly what this e-mail says?
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 1 A.        I answered that. I just looked at it, I           1            MR. CAVALIER: Objection. Same
 2 answered it.                                                2 instruction.
 3 Q.        Okay. So can you please describe what this        3 BY MR. CARSON:
 4 e-mail says?                                                4 Q.       Why is it funny?
 5             MR. CAVALIER: You want him to describe          5 A.       It's funny because you're asking the same
 6 the e-mail?                                                 6 inappropriate questions 20 different times. I gave
 7 BY MR. CARSON:                                              7 legal advice on this. I have nothing else to say about
 8 Q.        Yeah, what you remember about the e-mail.         8 it.
 9             MR. CAVALIER: That's a different                9            MR. CAVALIER: You're asking for a legal
10 question. Same objection, same instruction.                10 conclusion as well, Seth. He's not going to --
11 BY MR. CARSON:                                             11            MR. CARSON: He's a lawyer.
12 Q.        I mean, I'm going to wait for an answer.         12            THE WITNESS: Because it's comedic,
13 A.        I've already answered. I'm not going to          13 that's why I'm laughing.
14 answer any more.                                           14 BY MR. CARSON:
15 Q.        You received an e-mail that was sent from my     15 Q.       I know that you think that my client's
16 client, right? Right?                                      16 allegations are comedic.
17 A.        Again, I already said, I see I'm cc'd. I         17 A.       No, what you're doing right now is comedic,
18 don't dispute that.                                        18 so I laughed.
19 Q.        And the e-mail was sent from Ms. McNulty to      19 Q.       What's funny about it?
20 you, correct?                                              20 A.       Again, you're asking an inappropriate
21 A.        No, it was not.                                  21 question 20 different ways. I'm not going to answer it.
22 Q.        It was sent to you and Mr. Pipes?                22 Q.       Isn't my client, Patricia McNulty, trying to
23 A.        Nope. It was sent to Daniel Pipes; I was         23 report retaliation?
24 copied in.                                                 24 A.       MR. CAVALIER: Same objection, same
25 Q.        What's the distinction you're making there?      25 instruction.
                                                    Page 65                                                          Page 67
 1 You received the e-mail.                                    1 BY MR. CARSON:
 2 A.       When you send -- as someone who sends              2 Q.      Isn't that what she's doing? I'm going to
 3 thousands of e-mails every week, when you send it to        3 wait for an answer.
 4 someone is a lot different than when you're copied on       4          MR. CAVALIER: He's already given you
 5 someone.                                                    5 the answer.
 6 Q.        What's the difference?                            6             MR. CARSON: No, he hasn't. He hasn't
 7 A.        You are intending the person you send it to       7 answered that question.   If he has, repeat it.
 8 to respond. The person that you're copied, you just --      8             MR. CAVALIER: He's telling you he
 9 you want to either make them aware or keep them in the      9 already has.
10 loop. It doesn't require a response.                       10             MR. CARSON: Well, if he has, just
11 Q.        So but you did receive it, right?                11 repeat the answer, then, because I don't remember what
12 A.        Again, I don't dispute that I received the       12 he said.
13 e-mail.                                                    13 BY MR. CARSON:
14 Q.        "I received a phone call from Matt Bennett       14 Q.        Isn't Ms. McNulty tying to report
15 last night. He started the conversation with               15 retaliation?
16 pleasantries, but then began to discuss current MEF        16             MR. CAVALIER: You're not going to
17 internal operations. He apparently was speaking with       17 violate the privilege no matter how many different ways
18 Gregg every two days. Knew that Gary was back." Is         18 you ask it.
19 that the same Gary that you just testified about?          19             MR. CARSON: I'm not asking that. I'm
20 A.        I assume.                                        20 asking what my client was doing.
21 Q.        "And also, that Marnie had made another          21             MR. CAVALIER: How does he know what
22 allegation against Gregg," right?                          22 your client was doing?
23 A.        What's your question?                            23             MR. CARSON: Because he was cc'd on the
24 Q.        My question to you is, isn't this a report of    24 e-mail; he just said it.
25 retaliation?                                               25             MR. CAVALIER: I think he's answered.
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 1            MR. CARSON: There's no implication to                 1 specifically.
 2 privilege here; none.                                            2             MR. CAVALIER: No, he said he has
 3 BY MR. CARSON:                                                   3 recollections of topics in the e-mail because he gave
 4 Q.        My client is reporting wrongful conduct --             4 legal advice on them.
 5 inappropriate conduct involving Gregg Roman, correct? I          5             MR. CARSON: I'm not asking him about
 6 mean, we're just going to wait, so let me know when              6 that, I'm asking about my clients and what my client was
 7 you're ready to answer the question. There's no                  7 communicating to him and to Daniel Pipes.
 8 privilege objection you can assert here.                         8             MR. CAVALIER: Marc, to the extent you
 9            MR. CAVALIER: Seth, do me a favor. If                 9 can answer the question without violating the
10 you're going to eat while we're on the record, at least         10 attorney-client privilege, you can answer it.
11 close your mouth while you're doing it.                         11            THE WITNESS: I can't characterize what
12            MR. CARSON: I'm just waiting for an                  12 she said.  I mean, you're reading it in plain English,
13 answer.                                                         13 okay? I'm not your expert witness on your own client.
14            THE WITNESS: Maybe you could use your                14 I'm not going to answer that. You're asking me to do
15 time more wisely and ask me things that I could actually        15 your job.
16 answer instead of just reading me e-mails. Read it to           16 BY MR. CARSON:
17 the jury.                                                       17 Q.        No, I'm actually asking you --
18 BY MR. CARSON:                                                  18 A.        You're asking me to do your job. You can
19 Q.        My client tried to report additional conduct          19 characterize it.
20 involving Gregg Roman on April 23rd, 2019, correct?             20 Q.        "I came into work this morning completely
21            MR. CAVALIER: Object to form. Same                   21 discouraged. Why am I working so hard for someone who
22 instruction.                                                    22 thinks so poorly of me and feel so confident exclaiming
23            MR. CARSON: You can't tell him not to                23 to just anyone except, of course, to me. I have heard
24 answer based on a form objection. You're objecting to           24 nothing but good things and positivity about my work
25 form and telling him not to answer based --                     25 from Gregg. So to find out that he is saying very
                                                         Page 69                                                        Page 71
 1              MR. CAVALIER: I'm objecting to form --              1 different things to others behind my back is reminiscent
 2              THE WITNESS: I gave legal advice on                 2 of the past and extremely deflating," right?    That's
 3 this.                                                            3 what she said?
 4              MR. CAVALIER: I'm objecting to the form             4             MR. CAVALIER: I'm going to object to
 5 in addition to instructing him not to answer to the              5 the form --
 6 extent he needs to violate the attorney-client                   6      THE WITNESS: You're reading a letter
 7 privilege.                                                       7 into the record.
                                                                                 I mean --
 8            MR. CARSON: I'm not asking about any           8             MR. CAVALIER: Marc --
 9 communications with anyone. I'm asking him about the      9 BY MR. CARSON:
10 e-mail that we're looking at.                            10 Q.        That's the e-mail that you received on April
11            MR. CAVALIER: The e-mail he already           11 23rd, 2019, right?
12 told you --                                              12 A.        You've got 12 people here. You know, we've
13 BY MR. CARSON:                                           13 got a lot of things to do. I mean...
14 Q.        The e-mail indicates inappropriate conduct by 14 Q.         I mean, just answer the question, then we'll
15 Gregg Roman; isn't that correct?                         15 get through it faster.
16            MR. CAVALIER: The e-mail that he has          16 A.        You're not asking me a question, you're
17 already told you multiple times he does not remember     17 reading your client's letter. Read it to the jury.
18 receiving outside the context of his legal advice to the 18             MR. CAVALIER: Object to the form of the
19 Forum.                                                   19 reading in that you got a couple words in there wrong.
20            MR. CARSON: It's sent by my client.           20 But to the extent you're asking him generally did you
21 It's the same thing as if he was at the meeting.         21 read that correctly, that's the question?
22            MR. CAVALIER: He said he doesn't              22             THE WITNESS: You read it correctly.
23 remember getting the e-mail. He's told you that          23 Well, maybe -- I don't know. Maybe I should pay more
24 repeatedly.                                              24 attention. Maybe you aren't reading it correctly.
25            MR. CARSON: He said he remembered it          25 BY MR. CARSON:

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 1 Q.        Well, I think you should pay attention.           1 again; no problem.      I mean, it was everybody's. I do
 2 A.        Okay. Well, you're reading a letter.               2 not remember receiving that particular e-mail. I see
 3 Q.        Obviously you're not paying attention.             3 that I'm copied, I do not dispute that I received the
 4 A.        You're reading a letter. If you want to read       4 e-mail.
 5 it again, I will use our time to see if you're reading       5 BY MR. CARSON:
 6 it correctly.                                                6 Q.        Doesn't the e-mail implicate retaliation?
 7 Q.        I'd be happy to read it again.                     7             MR. CAVALIER: Objection. Same
 8 A.        Okay. So read it and I will tell you if            8 instruction with respect to the privilege. To the
 9 you're reading it correctly.                                 9 extent you can answer, you can answer.
10             THE COURT REPORTER: Please. Please.             10             THE WITNESS: I cannot answer that
11 Please, guys. Please.                                       11 question.
12 BY MR. CARSON:                                              12 BY MR. CARSON:
13 Q.        "I came into work this morning completely         13 Q.        It's a yes-or-no question. What's your
14 discouraged. Why am I working so hard for someone who       14 opinion?
15 thinks so poorly of me and feel so confident exclaiming     15 A.        It's your job to characterize your
16 that to just anyone except, of course, for me. I've         16 client's -- your client's case.
17 heard nothing but good things and positivity about my       17 Q.        Well, what's your opinion? Does it implicate
18 work from Gregg. So to find out that he is saying very      18 retaliation?
19 different things to others behind my back is reminiscent    19 A.        Again, everything I know about this case I
20 of the past and extremely deflating."                       20 learned through my legal representation. I was not a
21 A.        I testify here today that you read that           21 witness, I was not hanging out with them, I was not in
22 correctly.                                                  22 the office. So I'm not going to answer that question.
23 Q.        I read that correctly, right?                     23 Q.        Well, you just read the e-mail -- I just read
24 A.        Yes.                                              24 it to you. You said I read it correctly.
25 Q.        And you received that correct e-mail that I       25 A.        I mean, you could just as well -- you could
                                                     Page 73                                                          Page 75
 1 read on April 23rd, 2019, correct?                          1 ask John Cavalier, you could ask Dave Walton.       Is that
 2              MR. CAVALIER: Objection.                       2 appropriate to ask an attorney that question?
 3              THE WITNESS: I don't remember receiving        3 Q.         Yes.
 4 it, but I don't dispute it.                                 4              MR. CAVALIER: I disagree.
 5 BY MR. CARSON:                                               5 BY MR. CARSON:
 6 Q.         You don't remember receiving it?                  6 Q.        Well, you're an attorney and sending e-mails
 7 A.         I receive thousands of e-mails.                   7 saying I'm the new deputy director and I'm your boss
 8 Q.         I know that everyone is concerned that Gregg      8 now.
 9 is back to his old ways."                                    9 A.        I was not their boss. I'm happy to talk
10 A.         Am I supposed to be proofreading -- proofing     10 about that again. I'm not even familiar with the title.
11 you now? Okay. Go ahead.                                    11 All I did is collect weekly reports and thank them for
12 Q.         "I know that everyone is concerned that Gregg    12 them.
13 is back to his old ways, but I truly wanted to believe      13 Q.        You acted as their supervisor at this time.
14 that he had learned a lesson. The things that I was         14 I mean -- right?
15 told last night make me believe otherwise."                 15 A.        Actually, no. Come to think of it, no. That
16 A.         I testify that Seth Carson has read that         16 was sent in April.
17 correctly.                                                  17 Q.        A couple months before.
18 Q.         And that you received it on April 23rd, 2019?    18 A.        Yeah, so that was before. No.
19              MR. CAVALIER: Objection. Asked and             19 Q.        Okay. But you do know that retaliation is
20 answered.                                                   20 when someone subjects someone to adverse employment
21 BY MR. CARSON:                                              21 action due to reports of discrimination and harassment
22 Q.         Right?                                           22 in the workplace, right?
23              MR. CAVALIER: You can answer it again,         23 A.        I am generally familiar with what constitutes
24 if you want, Marc, for the twelfth time.                    24 retaliation under Title 7 in the 1964 Civil Rights Act.
25              THE WITNESS: Okay. I'll answer it              25             MR. CARSON: I'm going to take a break;
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 1 I'll be back in five minutes.                             1 answered.   Your witness is refusing to answer the
 2             MR. CAVALIER: Marc, you can go off           2 question by inappropriately asserting a privilege that
 3 screen and mute your mic.                                3 has no implication in the question.
 4             THE VIDEOGRAPHER: We are off the             4 BY MR. CARSON:
 5 record, 4:21.                                            5 Q.        So the question stands. Yes or no; do you
 6 (A recess was taken from 4:21 p.m. until 4:32 p.m.)      6 know about the counterclaim?
 7             THE VIDEOGRAPHER: All right. Back on         7 A.        I'm not going to answer that question.
 8 the record. It is 4:32 p.m.                              8 Q.        You have to. You can't assert a privilege
 9 BY MR. CARSON:                                           9 when there's no privilege implication. All right. So
10 Q.        Do you know anything about the counterclaims 10 why are you asserting privilege? Let's test your
11 that MEF filed against Ms. Barbounis?                   11 privilege theory. What's the basis of the privilege?
12             MR. CAVALIER: Object to form. Same          12 What you know about the counterclaim is because of
13 instructions with respect to the privilege. As a matter 13 information people told you, you don't know --
14 of fact, I'm going to instruct you not to answer that   14 A.        I advised the Middle East Forum about those
15 question because it's so broad, I can't imagine how you 15 issues.
16 could possibly answer it without divulging              16 Q.        That doesn't make it -- that's not -- maybe
17 attorney-client privilege.                              17 you misunderstand what privilege is. Privilege means
18 BY MR. CARSON.                                          18 communications from your client to you or you to your
19 Q.        It's a yes-or-no question. Do you know        19 client. It doesn't mean that --
20 anything about the counterclaim?                        20 A.        Yes.
21             MR. CAVALIER: You can answer that yes       21 Q.        Right. So it doesn't mean that you --
22 or no.                                                  22 A.        If you would like to show me something and
23             THE WITNESS: I'm going to assert            23 you want me to look at something --
24 privilege.                                              24 Q.        Well, have you ever checked the docket where
25 BY MR. CARSON:                                          25 the counterclaim was filed with Middle East Forum, Lisa
                                                   Page 77                                                       Page 79
 1 Q.        It's a yes-or-no question. I'm not asking     1 Barbounis --
 2 you to divulge anything. Do you know about the          2 A.       We have outside counsel for that.
 3 counterclaim?                                           3 Q.       So you've never looked at the docket?
 4 A.        I'm not going to answer that.                 4 A.       We have outside counsel.
 5 Q.        There's no privilege implication. It's yes    5 Q.       I wasn't asking you whether you have outside
 6 or no. Do you know about the counterclaim?              6 counsel. I'm asking you whether you looked at the
 7 A.        I'm not going to answer the question.         7 docket. You refuse to answer that?
 8 Q.        You have to. You can't assert privilege when 8 A.        I do not look at any docket. We have outside
 9 there's no privilege. I'm not asking you to tell me     9 counsel for that.
10 anything that anyone told you --                       10 Q.       Have you ever read the Complaint, the
11 A.        Everything I may or may not know about that  11 counterclaim?
12 is in the context of the legal advice I gave to the    12 A.       I may have advised on it.
13 Middle East Forum.                                     13 Q.       I'm not asking whether you advised, I'm
14 Q.        Really? Have you ever read the Complaint? 14 asking whether you read it. I'm not sure why you
15 That's not legal advice, right? That's a public record 15 guys --
16 on the docket, right?                                  16 A.       I did not -- I have nothing to do with it --
17             MR. CAVALIER: The question is, is the      17 Q.       Nothing --
18 Complaint a public record on the document? You can 18 A.           -- except for giving legal advice. If you
19 answer that.                                           19 want to read it into the record, go right ahead.
20 BY MR. CARSON:                                         20 Q.       Well, my question stands. Have you reviewed
21 Q.        The question is, do you know about the       21 the counterclaim?
22 counterclaim?                                          22            MR. CAVALIER: That's a different
23             MR. CAVALIER: Objection. Asked and         23 question.
24 answered.                                              24            THE WITNESS: I have outside counsel.
25             MR. CARSON: No, it hasn't been             25 BY MR. CARSON:

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 1 Q.       That's not my -- I didn't ask you whether you      1 A.        I hire outside counsel for that.
 2 had counsel.                                                2 Q.        So it was your decision to engage outside --
 3 A.       I'm not running the counterclaim. I'm not --       3 A.        Not necessarily my decision, but I'm legal
 4 Q.       Have you reviewed it?                              4 in-house counsel, so I'm involved in that. So again,
 5 A.       I'm not leading the counterclaim.                  5 you're in that territory where I'm giving legal advice.
 6 Q.       Have you reviewed it?                              6 Q.        Were you involved in the decision to
 7 A.       Again, hired outside counsel. I'm not              7 blackmail my client in the case?
 8 familiar with it. I may have given legal advice.            8             MR. CAVALIER: Object to form. Object
 9 Q.       So you're saying you never reviewed it?            9 to the characterization.
10 A.       I'm not familiar with it. I may have given        10 BY MR. CARSON:
11 legal advice.                                              11 Q.        Huh? Were you? Were you involved in that?
12 Q.       So you know --                                    12             MR. CAVALIER: You know what, Marc? You
13 A.       And I may have hired outside counsel.             13 don't even have to answer that.
14 Q.       Who did you hire? Are you referring to Cozen      14             THE WITNESS: I'm not going to answer
15 O'Connor?                                                  15 it.
16 A.       I'm not getting into legal advice or legal        16 BY MR. CARSON:
17 substantive --                                             17 Q.        No, you do have to answer it, actually.
18 Q.       These aren't privileged questions, Mr. Fink.      18 A.        I'm not going to answer it.
19 A.       It is.                                            19             MR. CAVALIER: Objection.
20 Q.       No, it's not.                                     20 BY MR. CARSON:
21 A.       I disagree with you. I mean, where are you        21 Q.        Are you aware that your client met with my
22 even going with this?                                      22 client --
23 Q.       Well, why don't you answer the questions and      23             MR. CAVALIER: That's a different
24 we'll see.                                                 24 question.
25 A.       I'm not familiar with it.                         25 BY MR. CARSON:
                                                    Page 81                                                          Page 83
 1 Q.        You're not familiar at all with the               1 Q.      -- in the 30th Street Station and blackmailed
 2 counterclaim?                                               2 her?
 3 A.        Not familiar with it except for legal advice      3           MR. CAVALIER: Objection to form. Don't
 4 I may have given.                                           4 answer that, Marc.  Ask a legitimate question and we'll
 5 Q.        You know nothing about the counterclaim?          5 move forward.
 6 A.        Not familiar with it.                             6           MR. CARSON: It's a legitimate question.
 7 Q.        You've never read it?                             7           MR. CAVALIER: No, it's not. It's
 8 A.        Not familiar with it.                             8 inflammatory --
 9 Q.        You've never read it?                             9           MR. CARSON: Yeah, it is.
10 A.        I may have given legal advice on it.             10           MR. CAVALIER: -- duress.
11 Q.        I'm not sure why you want to do this all over    11           THE COURT REPORTER: Gentlemen, I can't
12 again. I mean, if you're not there to --                   12 do this.
13 A.        I'm not sure -- I'm not sure. Okay. Forget       13 BY MR. CARSON:
14 it.                                                        14 Q.       Did you help draft the illegal document that
15 Q.        What? Go ahead, answer it.                       15 blackmails my client? Were you involved in that?
16 A.        I answered it. I was going to say something      16           MR. CAVALIER: Same instruction. Don't
17 else, but I decided not to. I answered the question.       17 answer the question.
18 Q.        No, you actually are not answering the           18 BY MR. CARSON:
19 question. You're refusing to answer the question.          19 Q.       Do you know whether Daniel Pipes attempted to
20 A.        I'm not familiar with it.                        20 threaten my client with a RICO case?
21 Q.        Do you know how much money my client stole       21           MR. CAVALIER: Instruct the witness not
22 from Middle East Forum?                                    22 to answer.
23 A.        I'm not familiar with the counterclaim.          23           MR. CARSON: You can't instruct him not
24 Q.        Are you familiar with the case MEF versus        24 to answer.
25 Lisa Barbounis?                                            25           MR. CAVALIER: I just did.
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 1            MR. CARSON: Based on what?                     1 I'm talking about -- I'm not talking about
 2            MR. CAVALIER: Based on privilege and           2 communications between you and your client, I'm talking
 3 based on the absurd nature of the inflammatory question. 3 about communications with my clients.
 4            MR. CARSON: I mean, I have a document          4             MR. CAVALIER: That's why I asked a
 5 that Mr. Pipes gave my client that says that he's         5 clarifying question. That's a different question.
 6 threatening her with a RICO case that never was filed.    6             MR. CARSON: Right.
 7 But all she has to do is stop all litigation and the      7             THE WITNESS: Can you repeat the
 8 RICO case won't be filed.                                 8 question?
 9            MR. CAVALIER: Now that you've read that        9 BY MR. CARSON:
10 into the record --                                       10 Q.        Yeah, sure. How many times did my clients
11            MR. CARSON: They'd cancel the RICO            11 report retaliation during the spring and the summer of
12 case.                                                    12 2019?
13            MR. CAVALIER: -- perhaps you would want 13                   MR. CAVALIER: Object to form and object
14 to ask --                                                14 to the fact that it calls for a legal conclusion. To
15            MR. CARSON: Would you consider that           15 the extent you can answer subject to that, Marc, feel
16 blackmail?                                               16 free.
17            MR. CAVALIER: -- Mr. Pipes about that.        17             THE WITNESS: I want you to clarify your
18 But this witness is not going to answer questions that   18 question. Are you asking if your clients went to me and
19 you inject your categorization of the documents into and 19 reported things to me? Is that what you're asking?
20 he's not going to involve --                             20 BY MR. CARSON:
21 BY MR. CARSON:                                           21 Q.        How many times are you aware of their reports
22 Q.        Do you have any knowledge about that?          22 of retaliation?
23            MR. CAVALIER: -- violate any privilege.       23             MR. CAVALIER: Same objection.
24 Don't answer the question.                               24             THE WITNESS: To me?
25            MR. CARSON: I mean, we can sit here all       25 BY MR. CARSON:
                                                     Page 85                                                          Page 87
 1 night, I guess.                                              1 Q.       Yeah.
 2             MR. CAVALIER: We won't sit here all              2 A.       Directly to me?
 3 night, Seth.  If you want to ask your question, ask the      3 Q.       Where you were either the recipient of the
 4 question and wrap your deposition up.                        4 e-mail or a cc of the e-mail.
 5 BY MR. CARSON:                                               5 A.       No. Directly to me, zero.
 6 Q.        All right. Did you know that my client met         6 Q.       Okay. How about where you were cc'd on the
 7 with Mr. Pipes at the 30th Street Station?                   7 e-mail?
 8 A.        I may have given Mr. Pipes legal advice.           8 A.       I don't remember. I seem to be cc'd on a lot
 9 Q.        Well, did you or didn't you?                       9 of e-mails.
10 A.        I may have given Mr. Pipes legal advice.          10 Q.       Was it at least once?
11 Q.        Well, if you did, there's privilege. If you       11 A.       You could show me an e-mail.
12 didn't, there's no privilege, right? Either you did or      12            MR. CAVALIER: Object to form and object
13 you didn't. Were you cc'd on any other e-mails where my     13 to the basis for the question calling for a legal
14 clients reported retaliation?                               14 conclusion.
15             MR. CAVALIER: Object to form.                   15 BY MR. CARSON:
16 BY MR. CARSON:                                              16 Q.       I mean, was it at least once? That's my
17 Q.        Well, how many e-mails did you receive where      17 question.
18 you were cc'd and my clients reported retaliation during    18            MR. CAVALIER: And I'm objecting based
19 the spring and summer of 2019?                              19 on the fact that you've injected the word "retaliation"
20             MR. CAVALIER: Objection. From anyone?           20 into the question which requires him to give --
21             MR. CARSON: Yeah.                               21            MR. CARSON: That's not an objection.
22             MR. CAVALIER: Then don't answer the             22            MR. CAVALIER: -- expert opinion in his
23 question because it's obviously out of bounds with          23 answer.
24 respect to the privilege.                                   24            MR. CARSON: You're not allowed to tell
25             MR. CARSON: It's not out of bounds.             25 him how to answer in your objection.

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 1 BY MR. CARSON:                                              1 those e-mails.
 2 Q.       And now that your lawyer has told you how to       2             MR. CAVALIER: Seth, he's not going to
 3 answer, do you want to answer the question?                 3 give you an answer where he acknowledges that your
 4 A.        What's your question?                           4 clients were complaining of legal retaliation. That's
 5 Q.        Was it at least once?                           5 not what he's here for. He's not here --
 6 A.        Will you repeat the full question?              6             MR. CARSON: Tell your client how to
 7 Q.        Yeah. Was it at least one time that you were    7 answer, get it out. Go ahead.
 8 either cc'd or a recipient of an e-mail where Lisa        8             MR. CAVALIER: You heard the objection.
 9 Barbounis, Patricia McNulty, Delaney Yonchek or Catriona 9              MR. CARSON: You want to tell him --
10 Brady reported retaliation --                            10             THE WITNESS: I'm not going answer the
11             MR. CAVALIER: Same objection.                11 question; I already did.
12 BY MR. CARSON:                                           12 BY MR. CARSON:
13 Q.        -- in the spring and summer of 2019?           13 Q.        No, you haven't answered the question yet.
14             MR. CAVALIER: Same objection with            14 A.        I did.
15 respect to the fact that it calls for a legal            15 Q.        I've asked it like five ways now. It's
16 conclusion.                                              16 getting to be ridiculous.
17             MR. CARSON: It's a funny objection when      17             MR. CAVALIER: He's here as a fact
18 the person who's -- the witness is a lawyer.             18 witness, not as a legal expert.
19             MR. CAVALIER: If he's here as a lawyer,      19 BY MR. CARSON:
20 then the entire deposition is irrelevant. If he's here   20 Q.        Have you received at least one e-mail by way
21 as a fact witness, he'll testify as to facts within his  21 of either cc or direct recipient during the spring and
22 personal knowledge.                                      22 the summer of 2019 where my clients reported issues that
23             MR. CARSON: Right. Well, his personal        23 were related to retaliation?
24 knowledge would probably include what retaliation is.    24             MR. CAVALIER: Why don't you define
25 BY MR. CARSON:                                           25 retaliation to see if he can give you a fact-based
                                                     Page 89                                                            Page 91
 1 Q.       But go ahead. We're going off the subject.         1 answer?
 2 What's the answer? Was it at least once?                    2 BY MR. CARSON:
 3            MR. CAVALIER: Objection.                         3 Q.        Sure. Where they complained about Gregg
 4            THE WITNESS: Repeat the question.                4 Roman's conduct?
 5 BY MR. CARSON:                                              5              MR. CAVALIER: That's a different
 6 Q.       I repeated it several times.                       6 question.    Marc, if you can answer that one.
 7 A.       Okay. You're going to have to repeat it very        7             THE WITNESS: I'm sure I was cc'd on
 8 carefully.                                                   8 e-mails complaining about Gregg Roman's conduct. I
 9 Q.       Was it at least once when you were a                9 don't remember any one in particular.
10 recipient of an e-mail by way of either directly            10 BY MR. CARSON:
11 receiving the e-mail or cc'd on an e-mail where one of      11 Q.        And we're talking about during the spring and
12 my clients reported retaliation in the spring or the        12 summer of 2019 right now, correct? That's the time
13 summer of 2019?                                             13 period that the question relates to.
14            MR. CAVALIER: Same objection with                14 A.        I answered, I assume I was cc'd on e-mails.
15 respect the fact that it calls for a legal conclusion.      15 I don't remember any one in particular.
16 BY MR. CARSON:                                              16 Q.        How many e-mails were you -- estimate for me.
17 Q.       Was it at least once?                              17 A.        No idea.
18            MR. CAVALIER: And to form.                       18 Q.        How many e-mails; was it more than one, was
19 BY MR. CARSON:                                              19 it more than two?
20 Q.       Now is when you answer. What are we doing?         20 A.        I don't know. Show it to me.
21 A.       There's an objection. I disagree with your         21 Q.        Well, I'm asking you to testify.
22 characterization also.                                      22 A.        Don't know. Don't remember.
23 Q.       Was it at least one?                               23 Q.        Well, when you receive an e-mail where
24 A.       At least one what?                                 24 someone reports issues related --
25 Q.       Time that you were a recipient on one of           25 A.        I gave legal advice on all sorts of issues.
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 1 Q.       Yeah, I'm not talking about --                      1 Q.       Did you ever see this e-mail before, is the
 2 A.       I never received an e-mail directly, to the         2 question.
 3 best of my knowledge.                                        3            MR. CAVALIER: Same objection, same
 4 Q.       Well, you were cc'd on these e-mails,               4 instruction.
 5 correct?                                                     5            THE WITNESS: I never saw that e-mail.
 6 A.       You'd have to show me an e-mail.                    6 BY MR. CARSON:
 7 Q.       No, you received e-mails where you were cc'd,       7 Q.       Well, my client says that Gregg Roman
 8 right?                                                       8 continues to spew slander regarding work and reputation.
 9 A.       You'd have to show me an e-mail.                    9 A.       I'm not copied on that e-mail.
10 Q.       I'm asking generally whether you were cc'd on      10 Q.       Never saw it in any other context?
11 e-mails where my clients reported concerns relating         11 A.       I may have given legal advice.
12 Gregg Roman in the spring and summer of 2019 --             12            MR. CAVALIER: Same objection and same
13 A.       I assume I was cc'd on e-mails, yes.               13 instruction.
14 Q.       So it's simple. I don't know why you're            14 BY MR. CARSON:
15 making this difficult. How many e-mails do you              15 Q.       Well, did you or didn't you? You can't just
16 remember --                                                 16 say you may have. If you did, then it's privileged. If
17 A.       I answered that; I have no idea.                   17 you didn't, then it's not privileged.
18 Q.       Can you estimate?                                  18            MR. CAVALIER: If he didn't give legal
19 A.       No.                                                19 advice and he's never seen it, then it's a completely
20 Q.       Was it at least ten?                               20 irrelevant e-mail.
21 A.       I have no idea. But you're welcome to show         21            MR. CARSON: That's not true. I could
22 me the e-mails; we could read through them.                 22 explain plenty of ways how it's relevant. Would you
23 Q.       Sure. I was trying to help everyone get out        23 like me to?
24 of here fast, but that's fine. Did you ever read this       24            MR. CAVALIER: I didn't argue with you
25 e-mail?                                                     25 the e-mail's not relevant. But if he's not given legal
                                                     Page 93                                                          Page 95
 1            MR. CAVALIER: Objection. Same                     1 advice on it and he's never seen it, what question could
 2 instruction with respect to the privilege. He's not          2 you possibly have for him?
 3 copied on this e-mail.                                       3            MR. CARSON: Plenty. But first I'd like
 4 BY MR. CARSON:                                               4 to establish -- if you gave legal advice on it, I'll
 5 Q.        Yeah, now, that your lawyer told you how to        5 move on.
 6 answer, have you ever seen this e-mail?                      6 BY MR. CARSON:
 7            MR. CAVALIER: Seth, I'm only going to             7 Q.        Did you or didn't you?
 8 let you do that so many more times before I get fed up.      8 A.        You want me to -- okay. I'll be happy to. I
 9 I'm just letting you know.                                   9 gave legal advice on this.
10            THE WITNESS: I'm not copied on that              10 Q.        When, when it was sent?
11 e-mail.                                                     11             MR. CAVALIER: You don't have to answer
12            MR. CARSON: Well, I should be fed up.            12 that.
13 You're the one who's inappropriately instructing your       13 BY MR. CARSON:
14 witness how to answer with totally inappropriate            14 Q.        Well, when; when are we talking about? In
15 speaking objections that have no relation to this case      15 connection with depositions, back when it was sent?
16 or the questions that I'm asking.                           16             MR. CAVALIER: He's not going to tell
17            MR. CAVALIER: Yeah, and you have the             17 you when he gave legal advice.
18 nerve --                                                    18             MR. CARSON: Why?
19            MR. CARSON: So I'm the one who should            19             MR. CAVALIER: Because it's privileged.
20 be fed up.                                                  20             MR. CARSON: It's privileged when
21            MR. CAVALIER: -- (indecipherable) and            21 someone had a conversation?
22 you won't do so here. So stop cluttering up the record      22             MR. CAVALIER: Yes.
23 with your ridiculous gratuitous remarks and ask the         23             MR. CARSON: Okay. I would suggest that
24 questions.                                                  24 it's not privileged. I'll give you another opportunity
25 BY MR. CARSON:                                              25 to answer.

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 1            MR. CAVALIER: We'll decline that            1 weekly activities. And she apparently went somewhere
 2 opportunity.                                           2 without notifying me that it was political -- or
 3            MR. CARSON: Okay. I mean, I'm just          3 notifying anybody.
 4 building up a record of refusing to answer questions   4 Q.       Well, then it turned out she did notify
 5 based on inappropriate objections.                     5 somebody, right?
 6 BY MR. CARSON:                                         6 A.       What's that?
 7 Q.       How about this one? Did you give legal        7 Q.       Her response, it turned out she had
 8 advice on this e-mail?                                 8 permission, right?
 9 A.       Yeah, I gave a lot of legal advice on these   9 A.       Yeah, looks like it.
10 issues.                                               10           MR. CARSON: I don't have any other
11 Q.       Did you ever perform any investigations with 11 questions. I'm done.
12 regard to these e-mails?                              12           THE WITNESS: Okay.
13 A.       Seth, I mean, I told you emphatically, I was 13           MR. CARSON: Thank you, everybody. I'm
14 not involved in any investigation.                    14 logging of. Does anyone have any questions of me
15 Q.       For any woman in the history of the Middle 15 regard, like, exhibits or anything?
16 East Forum alleging sexual harassment?                16           MR. CAVALIER: No, there's nothing from
17 A.       Nope. Nope.                                  17 me  to Marc, but you've got to let Sid or Bill decide
18 Q.       Absolutely positively not?                   18 whether they want to ask any questions of this witness.
19 A.       Yeah -- positively no.                       19           MR. GOLD: No questions. Thank you.
20 Q.       My client was given permission to work with  20     (The deposition was concluded at 5:19 p.m.)
21 Tommy Robinson, correct?                              21                * * *
22 A.       I have no idea. I'm not involved in          22
23 administration or personnel.                          23
24 Q.       Well, didn't you send her e-mails about it?  24
25 A.       Excuse me?                                   25
                                                   Page 97
 1 Q.       Didn't you send her e-mails about her work
 2 with Tommy Robinson?
 3 A.       I don't believe so.
 4            MR. CARSON: Okay. So Fink Number 6 --
 5 I think 6 -- will be D-18.
 6    (Exhibit Fink-6 was marked for identification.)
 7 BY MR. CARSON:
 8 Q.       How about this e-mail?
 9 A.       I can't see what you're doing.
10 Q.       This one.
11            MR. CAVALIER: What's your question?
12            MR. FINK: Hold on. That was the wrong
13 one.
14 BY MR. CARSON:
15 Q.       But you did send this e-mail, right?
16 A.       Looks like it.
17            MR. CARSON: But that wasn't the right
18 one.
19    (Exhibit Fink-7 was marked for identification.)
20 BY MR. CARSON:
21 Q.       So D18, Fink-7 was -- so here. Isn't this
22 administrative stuff that you did in connection with
23 Lisa and Tommy Robinson? So Fink-7 is D29.
24 A.       Yeah, I didn't remember sending this, but I
25 recognize it now. This is when I was supervising their

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   1                             INSTRUCTIONS TO WITNESS
   2                                    Read your deposition over carefully.
   3      It is your right to read your deposition and make
   4      changes in form or substance.                    You should assign a
   5      reason in the appropriate column on the errata sheet for
   6      any change made.
   7

   8                                    After making any change in form or
   9      substance which has been noted on the following errata
 10       sheet, along with the reason for any change, sign your
 11       name on the errata sheet and date it.
 12

 13                                     Then sign your deposition at the end
 14       of your testimony in the space provided.                              You are
 15       signing it subject to the changes you have made in the
 16       errata sheet, which will be attached to the deposition
 17       before filing.        You must sign in the space provided.
 18       The witness need not be a notary public.                              Any competent
 19       adult may witness your signature.
 20

 21                                     Return the original errata sheet to
 22       the court reporter promptly!                   Court rules require filing
 23       within 30 days after you receive the deposition.
 24

 25

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   1                                            ERRATA SHEET
   2      PAGE            LINE   CHANGE                                   REASON
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   1                                    SIGNATURE PAGE
   2                                                OF
   3                                        MARC FINK
   4

   5                                    I hereby acknowledge that I have
   6      read the foregoing deposition, dated TUESDAY, NOVEMBER
   7      24, 2020, and that the same is a true and correct
   8      transcription of the answers given by me to the
   9      questions propounded, except for the changes, if any,
 10       noted on the attached errata sheet.
 11

 12

 13                             SIGNATURE:
 14

 15                             DATE:
 16

 17

 18

 19                             WITNESSED BY:
 20

 21                             DATE:
 22

 23

 24

 25

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   1                             C E R T I F I C A T E
   2

   3

   4                                    I, Pamela Pratt, Court Reporter and
   5      Notary Public in and for the Commonwealth of
   6      Pennsylvania, certify that the foregoing is a true and
   7      accurate transcript of the deposition of said witness
   8      taken by me on the date and place hereinbefore set
   9      forth.
 10

 11                                     I further certify that I am neither
 12       attorney nor counsel for, nor related to or employed by,
 13       any of the parties to the action in which this
 14       deposition was taken, and further, that I am not a
 15       relative or employee of any attorney or counsel employed
 16       in this action, nor am I financially interested in this
 17       case.
 18

 19

 20

 21

 22

 23                                     Pamela Pratt, Court Reporter
                                        Notary Public
 24

 25

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       WORD LIST          <5>                           Airbnb (1)                     awful (1)
                          5 (2)                         al (2)
 <1>                      5:19 (1)                      allegation (3)                 <B>
 11-4-2018 (1)            515 (1)                       allegations (15)               back (11)
 12 (1)                   52 (1)                        allege (1)                     backfire (2)
 15 (1)                   5th (10)                      alleged (9)                    backfired (1)
 1650 (1)                                               alleging (1)                   bad (8)
 1835 (2)                 <6>                           allowed (1)                    Ballpark (2)
 19103 (3)                6 (2)                         amount (2)                     bankrupt (1)
 1964 (1)                 61 (1)                        Amy (4)                        bar (2)
 1994 (2)                                               answer (133)                   BARBOUNIS (12)
 1st (1)                  <7>                           answered (23)                  Barbounis's (1)
                          7 (2)                         answering (2)                  barely (1)
 <2>                      7:28 (1)                      answers (3)                    based (14)
 2 (1)                                                  answer's (2)                   basically (1)
 2:19-cv-05030 (1)        <9>                           anybody (1)                    basis (4)
 20 (3)                   97 (2)                        apologize (1)                  Bates-stamped (1)
 2012 (4)                                               apparently (2)                 began (5)
 2015 (4)                 <A>                           appear (1)                     beginning (3)
 2016 (1)                 abruptly (1)                  APPEARANCES (1)                behavior (1)
 2018 (8)                 absolutely (5)                appearing (1)                  believe (16)
 2019 (17)                absurd (1)                    appears (1)                    believed (1)
 2020 (3)                 acceptable (1)                appropriate (4)                bells (1)
 21 (1)                   accurate (1)                  April (5)                      Bennett (5)
 215)391-4790 (1)         accusations (1)               argue (1)                      best (6)
 215)569-1999 (1)         acknowledge (3)               arm (1)                        better (1)
 215)665-2000 (1)         acknowledged (2)              asked (20)                     biggest (1)
 219-cv-05030 (1)         acknowledges (1)              asking (55)                    Bill (1)
 23 (1)                   Act (1)                       assaulted (1)                  blackmail (2)
 23rd (4)                 acted (1)                     assert (5)                     blackmailed (1)
 24 (2)                   acting (2)                    asserting (2)                  blackmails (1)
 24th (1)                 ACTION (5)                    assign (1)                     block (1)
 2950 (1)                 activities (3)                assists (1)                    Bloom (1)
 29th (1)                 addition (1)                  ASSOCIATES (1)                 blur (2)
                          additional (1)                assume (10)                    boss (19)
 <3>                      addressed (1)                 assuming (2)                   bottom (1)
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 30 (2)                   administration (2)            attached (2)                   Brady (4)
 30th (2)                 administrative (7)            attempted (1)                  break (1)
                          adult (1)                     attend (1)                     briefly (1)
 <4>                      advance (1)                   attended (1)                   bring (1)
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 4:21 (2)                 advice (82)                   attention (3)                  brought (2)
 4:32 (2)                 advised (3)                   Attorney (6)                   building (1)
 40 (2)                   afternoon (2)                 attorney-client (11)           Bylaws (2)
 4-23 (1)                 ago (3)                       authority (2)
 447 (1)                  agreed (2)                    avoid (1)                      <C>
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 calling (1)              Commonwealth (2)           current (1)                    director (19)
 calls (3)                communicating (1)          customers (2)                  directors (1)
 Campus (1)               communications (7)                                        disagree (3)
 cancel (1)               competent (1)              <D>                            disclosing (1)
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 CARSON (208)             complaining (2)            D13 (4)                        discrimination (19)
 Case (12)                Complaint (3)              D18 (2)                        discuss (7)
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 Catriona (3)             concerned (5)              D2 (3)                         discussing (1)
 CAVALIER (178)           concerning (2)             D21 (1)                        dispute (8)
 cc (2)                   concerns (1)               D21-23 (1)                     disputing (2)
 cc'd (18)                concluded (1)              D29 (1)                        disregarded (1)
 Center (1)               conclusion (5)             D-29 (1)                       distinction (1)
 certain (1)              conduct (8)                Daniel (13)                    DISTRICT (4)
 certainly (2)            conference (5)             date (5)                       divulge (3)
 certification (1)        confidences (7)            dated (1)                      divulging (8)
 certify (2)              confident (2)              dates (3)                      docket (5)
 cetera (3)               confirm (1)                Dave (4)                       docs (1)
 chances (1)              confirmed (1)              DAVID (1)                      document (11)
 change (5)               confuse (1)                day (4)                        documents (3)
 changed (3)              confusion (1)              days (3)                       doing (10)
 changes (6)              connection (6)             deal (1)                       doubt (2)
 characterization (4)     consider (1)               Dear (1)                       draft (1)
 characterize (3)         consistent (1)             decide (1)                     drank (1)
 characterized (2)        constitutes (1)            decided (1)                    drill (1)
 charge (2)               contents (6)               decision (3)                   drinking (1)
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 check (1)                continue (2)               decline (1)                    due (3)
 checked (1)              continued (1)              Defendant (2)                  duly (1)
 Cherry (1)               continues (1)              Defendants (1)                 duress (1)
 chief (2)                contract (1)               define (1)                     dwalton@cozen.com
 CIVIL (2)                contractor (1)             definitely (3)                 (1)
 claims (1)               conversation (3)           definition (1)
 clarify (1)              conversations (1)          deflating (2)                  <E>
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 client (24)              correctly (9)              depositions (3)                easier (2)
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 close (2)                couches (1)                describe (4)                   easy (1)
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 code (1)                 counselor (1)              despite (1)                    editor (2)
 collaborations (1)       counterclaim (14)          details (2)                    EEOC (2)
 collect (1)              counterclaims (1)          difference (1)                 Efraim (2)
 column (1)               couple (2)                 different (18)                 Efriam (4)
 come (3)                 course (2)                 difficult (4)                  either (9)
 comedic (3)              Court (19)                 dinner (2)                     elevated (1)
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 e-mails (27)             fed (3)                    gender (1)                     help (6)
 e-mail's (1)             feel (4)                   general (3)                    hereinbefore (1)
 emphatically (1)         felt (1)                   generally (3)                  Hill (1)
 employed (2)             Fifteen (1)                gentleman (1)                  hire (3)
 employee (10)            filed (6)                  Gentlemen (4)                  hired (8)
 employees (17)           filing (3)                 getting (4)                    hiring (2)
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 ended (2)                financially (1)            give (18)                      hold (3)
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 English (1)              Find-2 (1)                 giving (13)                    Hollin (1)
 entered (1)              fine (1)                   Go (17)                        home (1)
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 errata (7)               Fink-2 (2)                 goings-on (1)                  hours (4)
 ESQUIRE (5)              Fink-3 (3)                 GOLD (3)                       house (1)
 establish (1)            Fink-4 (3)                 Good (5)                       Huh (1)
 estimate (3)             Fink-6 (2)                 goodness (1)                   hundred (3)
 et (5)                   Fink-7 (4)                 gotten (1)                     hundreds (1)
 event (3)                first (8)                  grandstand (1)
 Everest (2)              five (9)                   gratuitous (2)                 <I>
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 exactly (3)              followed (1)               grievances (2)                 identification (5)
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 exclaiming (2)           foregoing (2)              guests (1)                     illegal (1)
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 Exhibit (5)              forgot (1)                 guys (4)                       implicate (2)
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 expressed (1)            foundation (5)             happen (2)                     inappropriately (2)
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                          full (3)                   harass (1)                     Including (2)
 <F>                      full-time (4)              harassed (1)                   incorrect (1)
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 fast (2)                 games (2)                  heard (4)                      informing (1)
 faster (1)               Gannone (2)                held (5)                       in-house (3)


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 interesting (1)          lap (1)                    Market (3)                     need (1)
 interim (1)              laughed (1)                Marnie (6)                     needs (1)
 intern (1)               laughing (1)               massive (2)                    neither (1)
 internal (1)             LAW (2)                    materials (1)                  nerve (1)
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 interviewed (6)          lawyer (8)                 matter (7)                     New (3)
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 investigate (5)          Leah (2)                   Matthew (3)                    Nods (1)
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 investigations (1)       Legal (99)                 means (3)                      Notary (4)
 investigative (1)        legitimate (3)             meant (2)                      note (1)
 invited (7)              lesson (1)                 measures (2)                   noted (4)
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 involved (20)            letting (1)                MEF (6)                        notified (1)
 involves (1)             Levy (1)                   MEF's (3)                      notify (1)
 involving (5)            Liberty (1)                member (1)                     notifying (2)
 irrelevant (2)           lies (1)                   memo (11)                      November (15)
 Islamist (2)             life (2)                   memory (3)                     NUMBER (8)
 Israel (2)               line (2)                   men (5)
 Israeli (1)              LinkedIn (2)               mentioned (3)                  <O>
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                          litigation (1)             met (2)                        objecting (4)
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 John (2)                 logging (1)                MIDDLE (38)                    obstructing (1)
 JONATHAN (1)             long (6)                   Mike (1)                       obviously (4)
 July (1)                 look (8)                   minutes (6)                    O'CONNOR (2)
 June (1)                 looked (6)                 mischaracterization            offensive (1)
 junkie (1)               looking (8)                (2)                            office (12)
 jury (2)                 looks (3)                  misinformed (1)                officials (1)
                          loop (1)                   missed (1)                     Oh (3)
 <K>                      lot (10)                   misunderstand (1)              Okay (42)
 K-A-R (1)                                           money (2)                      old (2)
 Karsh (7)                <M>                        months (1)                     once (6)
 K-A-R-S-H (1)            maintain (1)               morning (2)                    ones (1)
 Kassam (1)               maintained (1)             motions (1)                    operations (1)
 Keep (3)                 majority (1)               mouth (1)                      opinion (4)


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 opportunity (3)          point (3)                                                 remote (1)
 organization (5)         policies (1)               <R>                            rendered (1)
 original (1)             policy (16)                Raheem (1)                     repeat (16)
 outside (11)             political (1)              raised (1)                     repeated (1)
 overlap (1)              poor (1)                   rant (1)                       repeatedly (1)
                          poorly (2)                 ranting (2)                    repeating (2)
 <P>                      position (6)               read (38)                      report (20)
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 PAGE (3)                 positivity (2)             real (1)                       Reporting (4)
 Pam (1)                  possible (4)               really (9)                     reports (9)
 Pamela (3)               possibly (3)               reason (7)                     representation (3)
 paragraph (1)            Pratt (4)                  reasons (2)                    Representing (3)
 part (9)                 predated (1)               reatained (1)                  reputation (1)
 particular (7)           PRESENT (8)                recall (5)                     require (2)
 parties (2)              presented (2)              receipt (2)                    requires (1)
 part-time (1)            president (3)              receive (8)                    reserve (1)
 Patricia (7)             prevent (6)                received (13)                  reserved (1)
 Patrician (1)            previous (7)               receiving (17)                 respect (10)
 pay (2)                  previously (2)             recess (1)                     respective (1)
 paying (1)               prior (2)                  recipient (5)                  respond (1)
 pending (2)              privilege (30)             recognize (1)                  responded (2)
 Penn (1)                 privileged (7)             recollection (1)               responding (3)
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 percent (2)              procedures (1)             recorded (1)                   responsive (1)
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 perform (1)              produced (1)               reference (2)                  retaliation (21)
 performed (1)            Project (9)                references (1)                 Return (1)
 performing (1)           Projects (4)               referred (1)                   reviewed (4)
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 permission (2)           proofing (1)               refusal (1)                    ridiculous (2)
 person (5)               proofreading (1)           refuse (1)                     RIESER (1)
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 Philadelphia (4)         Public (6)                 related (5)                    role (1)
 phone (1)                pulled (1)                 relates (1)                    roles (2)
 pillow (2)               put (11)                   relating (1)                   Roman (38)
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 Place (5)                putting (1)                relationship (1)               room (4)
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 Plaintiff (2)            <Q>                        relevant (2)                   run (1)
 play (2)                 question (99)              remarks (1)                    running (1)
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 please (11)              questioning (1)            remembered (1)                 <S>
 plenty (2)               questions (18)             remembers (4)                  saw (4)


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 saying (7)               social (1)                 Subject (8)                    think (22)
 says (14)                somebody (2)               subjects (1)                   thinking (1)
 scared (2)               sorry (11)                 substance (2)                  thinks (2)
 screen (2)               sort (1)                   substantive (1)                thousands (4)
 scroll (8)               sorts (1)                  suggest (1)                    threat (1)
 sealing (1)              sound (1)                  suggesting (1)                 threaten (1)
 second (1)               sounds (1)                 suggestion (1)                 threatening (1)
 secure (1)               space (2)                  Suite (2)                      threats (1)
 see (18)                 speaking (2)               summer (11)                    three (8)
 seen (4)                 spearheading (2)           super (1)                      time (31)
 seminal (2)              specialist (1)             supervise (4)                  times (11)
 send (12)                specific (1)               supervised (1)                 title (6)
 sending (5)              Specifically (5)           supervising (1)                titles (2)
 sends (1)                speculate (1)              supervision (1)                today (13)
 senior (1)               spell (1)                  supervisor (2)                 Today's (1)
 sent (15)                spelled (2)                supposed (3)                   told (11)
 separate (1)             speller (1)                sure (18)                      tolerate (1)
 serious (8)              spent (1)                  swear (1)                      Tommy (3)
 session (1)              spew (1)                   sworn (1)                      ton (1)
 set (1)                  spoke (1)                                                 top (2)
 SETH (22)                spoken (1)                 <T>                            topic (1)
 seth@dereksmithlaw.c     sponsors (1)               table (1)                      topics (1)
 om (1)                   spring (7)                 take (4)                       totally (1)
 sex (1)                  staff (3)                  taken (7)                      train (1)
 sexual (26)              staffer (1)                takes (3)                      trained (1)
 sexually (4)             staffers (1)               talk (7)                       trainings (1)
 sgold@discrimlaw.net     Standard (1)               talked (1)                     trains (1)
  (1)                     stands (2)                 talking (13)                   transcript (1)
 S-H (1)                  staring (1)                talks (3)                      transcription (1)
 Shargel (2)              started (10)               tasks (1)                      trial (1)
 Shargel's (2)            state (1)                  tell (15)                      tried (1)
 sheet (7)                statement (1)              telling (5)                    trip (1)
 shortly (1)              statements (2)             ten (3)                        true (4)
 show (17)                STATES (2)                 tens (1)                       truly (1)
 showing (1)              Station (2)                terminated (1)                 try (4)
 shrugs (1)               staying (1)                termination (1)                trying (8)
 Sid (1)                  stenographic (1)           terms (1)                      Tuesday (3)
 SIDNEY (2)               step (1)                   territory (1)                  turn (2)
 sign (4)                 stepping (1)               test (1)                       turned (2)
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 Significant (2)          stipulated (1)             testify (4)                    two (17)
 signing (1)              stole (1)                  testifying (2)                 two-and-half (1)
 simple (2)               Stop (3)                   testimony (6)                  tying (1)
 single (2)               store (1)                  text (1)
 sit (3)                  straight (4)               Thank (6)                      <U>
 Sitting (2)              Street (5)                 thanked (1)                    Uh-huh (3)
 slander (1)              strike (4)                 theory (1)                     uncomfortable (3)
 smartass (1)             strong (1)                 thing (4)                      understand (5)
 SMITH (1)                stuff (2)                  things (10)                    understanding (3)


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 understood (1)           woman (1)
 UNITED (2)               women (7)
 use (5)                  word (3)
                          words (1)
 <V>                      work (23)
 vaguely (2)              worked (3)
 valid (1)                working (4)
 vast (1)                 workplace (16)
 veiled (2)               works (4)
 verbal (1)               world (1)
 versus (2)               worth (1)
 victims (3)              wrap (2)
 video (7)                wrong (3)
 Videographer (4)         wrongful (1)
 Videotaped (1)
 violate (3)              <Y>
 violating (2)            Yeah (40)
 visit (1)                year (4)
 vs (1)                   year-and-a-half (1)
                          years (5)
 <W>                      Yep (11)
 W-2 (1)                  yes-or-no (4)
 Wait (4)                 yesterday (2)
 waiting (1)              Yonchek (3)
 waived (1)
 WALTON (2)               <Z>
 want (29)                zero (1)
 wanted (1)
 Washington (1)
 Watch (4)
 watched (1)
 way (8)
 ways (7)
 website (1)
 week (2)
 weekly (9)
 weeks (2)
 weird (1)
 welcome (1)
 Well (54)
 went (6)
 we're (19)
 we've (1)
 whispering (1)
 WILLIAM (1)
 wisely (1)
 WITNESS (94)
 WITNESSED (1)
 Wolson (1)


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